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09:43:11      1
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              3
              4                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
              5                                EASTERN DIVISION
              6
              7    UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8      Plaintiff,                             Chicago, Illinois
                                                            June 6, 2011
              9             v.                              Trial
                                                            9:45 A.M. SESSION
             10
                   RON COLLINS,
             11
                     Defendant.
             12    -------------------------------
             13
             14                                 VOLUME 4-A
                                            TRANSCRIPT OF TRIAL
             15                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                 UNITED STATES DISTRICT JUDGE, AND A JURY
             16
             17
             18    APPEARANCES:
             19
             20
                   For the Government:         Office of the U.S. Attorney
             21                                By: Halley B. Guren, and
                                                    Renai S. Rodney
             22                                219 S. Dearborn St., 5th Fl.
                                               Chicago, IL 60604
             23                                (312) 353-5300
             24
             25



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   3    APPEARANCES (Cont'd):
   4
   5
        For the Defendant:          Frank A. Rubino
   6                                1001 Brickell Bay Dr., Ste. 2206
                                    Miami, FL 33131
   7                                (305) 858-5300
   8
   9
  10    COURT REPORTER:             FEDERAL OFFICIAL COURT REPORTER
                                    April M. Metzler, RPR, CRR, FCRR
  11                                219 South Dearborn St., Rm. 2318-A
                                    Chicago, IL 60604
  12                                (312) 408-5154
                                    April_Metzler@ilnd.uscourts.gov
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        Proceedings recorded by mechanical stenography; transcript
  25    produced by notereading.



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   1                                      I N D E X
   2
   3
   4    DESCRIPTION                                                               PAGE
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   6     SEAN GERAGHTY, DIRECT EXAMINATION                                        859
         BY MS. GUREN
   7
   8     SEAN GERAGHTY, CROSS-EXAMINATION                                         870
         BY MR. RUBINO
   9
  10     SEAN GERAGHTY, REDIRECT EXAMINATION                                      872
         BY MS. GUREN
  11
  12     BRUCE KILLIAN, DIRECT EXAMINATION                                        875
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  14     BRUCE KILLIAN, CROSS-EXAMINATION                                         917
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  15
  16     BRUCE KILLIAN, REDIRECT EXAMINATION                                      927
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  18     BRUCE KILLIAN, RECROSS-EXAMINATION                                       931
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  20     BRUCE KILLIAN, REDIRECT EXAMINATION                                      932
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  22     ROBERT COLEMAN, DIRECT EXAMINATION                                       934
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  23
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         BY MR. RUBINO
  25



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   1     ROBERT COLEMAN, REDIRECT EXAMINATION                                     965
         BY MS. RODNEY
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              1               (Resumed at 9:45 a.m.)
              2               (Whereupon the following discussion was had in open
09:45:38      3    court, outside the presence of the jury:)
09:45:38      4               THE CLERK: Case number 9CR673, USA versus Ron
09:46:22      5    Collins.
09:46:22      6               MS. GUREN: Good morning, your Honor. Halley Guren
09:46:24      7    and Renai Rodney on behalf of the United States.
09:46:27      8               THE COURT: Good morning.
09:46:27      9               MR. RUBINO: Good morning, your Honor. Frank Rubino
09:46:29     10    on behalf of Mr. Ron Collins. Ron Collins is present in court
09:46:32     11    this morning.
09:46:32     12               THE COURT: Good morning, Mr. Rubino.
09:46:34     13               Good morning, Mr. Collins.
09:46:35     14               THE DEFENDANT: Good morning.
09:46:36     15               THE COURT: All right, folks. Are we ready to
09:46:37     16    proceed?
09:46:37     17               MS. GUREN: We are ready. I just want to hand up to
09:46:40     18    your Honor three copies for the replacements in the summary
09:46:44     19    charts and also one additional published document.
09:46:47     20               THE COURT: Okay. All right. Then go ahead.
09:46:50     21               And did we have a witness on the stand? I don't
09:46:53     22    recall.
09:46:53     23               MS. GUREN: We do not.
09:46:54     24               THE COURT: Okay. All right. Can you bring the jury
09:46:56     25    in Omar?



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09:49:33      1               (The jury enters the courtroom.)
09:49:33      2               THE COURT: Okay. Please be seated. Good morning,
09:49:35      3    folks. I hope you had a nice long weekend just because it's
09:49:42      4    going to be 90 outside, does not mean it will be 90 in here.
09:49:42      5    It might be colder, so be careful, remember your layers.
09:49:46      6               We're going to pick up where we left off, and I'm
09:49:49      7    going to have the Government call its next witness.
09:49:51      8               MS. GUREN: And, your Honor, before we call our next
09:49:53      9    witness, we'd like to read three stipulations.
09:49:56     10               THE COURT: That's fine. Go right ahead.
09:49:58     11               MS. GUREN: Stipulation 4: It is hereby stipulated
09:50:02     12    and agreed by the United States of America by its attorney,
09:50:04     13    Patrick J. Fitzgerald, United States Attorney for the Northern
09:50:10     14    District of Illinois, and the defendant, individually and by
09:50:11     15    his attorney, that the following facts are true:
09:50:13     16               If called as a witness, a custodian of records for
09:50:17     17    JPMorgan Chase Bank would testify that he or she has knowledge
09:50:21     18    of the relevant recordkeeping system and that each of the
09:50:23     19    described records were made or received and maintained in the
09:50:30     20    regular course of JPMorgan Chase Bank business around the time
09:50:32     21    of the transactions reflected in the records. And that it is
09:50:35     22    the regular practice of JPMorgan Chase Bank to make or receive
09:50:40     23    such records.
09:50:40     24               A, Government Exhibit Auto 2; B, Government Exhibits
09:50:45     25    Chase 1 through 10; and C, Government Exhibit Mortgage 4.



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09:50:48      1               If called as a witness, a custodian of records for
09:50:52      2    Citibank NA would testify that he or she has knowledge of the
09:50:57      3    relevant recordkeeping system, and that each of the described
09:51:00      4    records were made or received and maintained in the regular
09:51:03      5    course of business of Citibank NA around the time of the
09:51:09      6    transactions reflected in the records, and that it is the
09:51:11      7    regular practice of Citibank NA to make or receive such
09:51:14      8    records.
09:51:14      9               A, Government Exhibit Citibank 1.
09:51:17     10               Three, if called as a witness a custodian of records
09:51:19     11    for Sibley Boulevard and Calumet Expressway Currency Exchange
09:51:24     12    would testify that he or she has knowledge of the relevant
09:51:27     13    recordkeeping system and that each of the described records
09:51:30     14    were made or received and maintained in the regular course of
09:51:34     15    Sibley Boulevard and Calumet Expressway Currency Exchange's
09:51:38     16    business around the time of the transactions reflected in the
09:51:41     17    records, and that it is the regular practice of Sibley
09:51:45     18    Boulevard and the Calumet Expressway Currency Exchange to make
09:51:48     19    or receive such records.
09:51:49     20               A, Government Exhibit Money Order 1.
09:51:53     21               Four, if called as a witness, a custodian of records
09:51:56     22    for Michigan and 103 Currency Exchange Incorporated would
09:52:01     23    testify that he or she has knowledge of the relevant
09:52:05     24    recordkeeping system and that each of the described records
09:52:08     25    were made or received and maintained in the regular course of



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09:52:11      1    Michigan and 103rd Currency Exchange Incorporated's business
09:52:16      2    around the time of the transactions reflected in the records,
09:52:18      3    and that it is the regular practice of Michigan and 103rd
09:52:21      4    Currency Exchange Incorporated to make or receive such
09:52:24      5    records.
09:52:24      6               A, Government Exhibit Money Order 2.
09:52:27      7               If called as a witness, a custodian of records for
09:52:30      8    Western Union Financial Services would testify that he or she
09:52:35      9    has knowledge of the relevant recordkeeping system, and that
09:52:37     10    each of the described records were made or received and
09:52:40     11    maintained in the regular course of Western Union Financial
09:52:44     12    Services Incorporated's business around the time of the
09:52:46     13    transactions reflected in the records, and that it is the
09:52:49     14    regular practice of Western Union Financial Services
09:52:52     15    Incorporated to make or receive such records.
09:52:53     16               A, Government Exhibit Money Order 3.
09:52:56     17               Six, if called as a witness, a custodian of records
09:53:00     18    for HomEq Servicing would testify that he or she has knowledge
09:53:05     19    of the relevant recordkeeping system and that each of the
09:53:07     20    described records were made or received and maintained in the
09:53:11     21    regular course of HomEq Servicing's business around the time
09:53:15     22    of the transactions reflected in the records, and that it is
09:53:17     23    the regular practice of HomEq Servicing to make or receive
09:53:21     24    such records.
09:53:22     25               A, Government Exhibit Mortgage 1 and Government



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09:53:25      1    Exhibit Mortgage 2.
09:53:27      2               If -- seven, if called as a witness, a custodian for
09:53:30      3    Southport Bank would testify he or she has knowledge of the
09:53:33      4    relevant recordkeeping testimony and that each of the
09:53:36      5    described records were made or received and maintained in the
09:53:39      6    regular course of Southport Bank's business around the time of
09:53:42      7    the transactions reflected in the records, and that it is the
09:53:45      8    regular practice of Southport Bank to make or receive such
09:53:49      9    records.
09:53:49     10               A, Government Exhibit Mortgage 3, and, B, Government
09:53:53     11    Exhibit Mortgage 5.
09:53:53     12               If called as a witness, a custodian of records for
09:53:58     13    the Greater Lakes Bank of Choice would testify that he or she
09:54:01     14    has knowledge of the relevant recordkeeping system and that
09:54:06     15    each of the described records were made or received and
09:54:07     16    maintained in the regular course of Great -- of Great [sic]
09:54:11     17    Lakes Bank of Choice businesses -- business around the time of
09:54:15     18    the transactions reflected in the records, and that it is the
09:54:17     19    regular practice of Great [sic] Lakes Bank of Choice to make
09:54:20     20    or receive such records.
09:54:21     21               A, Government Exhibit Mortgage 6.
09:54:24     22               So stipulated?
09:54:24     23               (No response.)
09:54:27     24               MS. GUREN: Defense counsel, so stipulated?
09:54:28     25               MR. RUBINO: Yes.



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09:54:30       1               MS. GUREN: At this time, your Honor, we would move
09:54:32       2   into evidence: Government Exhibit Auto 2, Government Exhibits
09:54:37       3   Chase 1 through 10, and Government Exhibit Mortgage 4,
09:54:44       4   Government Exhibit Citibank 1, Government Exhibit Money
09:54:50       5   Order 1, Government Exhibit Money Order 2, Government
09:54:53       6   Exhibit Money Order 3, Government Exhibit Mortgage 1,
09:54:58       7   Government Exhibit Mortgage 2, Government Exhibit Mortgage 3.
09:55:02       8               We've previously moved in Government
09:55:05       9   Exhibit Mortgage 4, and Government Exhibit Mortgage 5, and
09:55:08     10    Government Exhibit Mortgage 6.
09:55:11     11                THE COURT: They will be admitted.
09:55:19     12                MS. GUREN: And now the Government is going to read
09:55:22     13    stipulation number 2:
09:55:22     14                It is hereby stipulated and agreed by the United
09:55:25     15    States of America by its attorney, Patrick J. Fitzgerald, the
09:55:29     16    United States Attorney for the Northern District of Illinois,
09:55:31     17    and the defendant, individually and by his attorneys, that the
09:55:34     18    following facts are true:
09:55:36     19                If called as a witness, a custodian of records for
09:55:39     20    Sprint Nextel would testify that he or she has knowledge of
09:55:42     21    the relevant recordkeeping system and that each of the
09:55:44     22    described records were made or received and maintained in the
09:55:48     23    regular course of Sprint Nextel's business around the time of
09:55:52     24    the transactions reflected in the records, and that it is the
09:55:54     25    regular practice of Sprint Nextel to make or receive such



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09:55:59       1   records.
09:55:59       2               A, Government Exhibit Sprint 1 contains subscriber
09:56:02       3   information and cellular telephone call records for the period
09:56:05       4   of December 9th, 2006 to December 8th, 2007 for the account
09:56:10       5   number 830412518 and the mobile telephone number
09:56:18       6   (773) 858-6892. The subscriber information in Government
09:56:27       7   Exhibit Sprint 1 lists the subscriber as Rodney Carter.
09:56:30       8               So stipulated, Counsel?
09:56:31       9               MR. RUBINO: Yes.
09:56:32     10                MS. GUREN: At this time, your Honor, we would move
09:56:34     11    into evidence Government Exhibit Sprint 1.
09:56:37     12                THE COURT: Okay. It will be admitted.
09:56:40     13                MS. GUREN: And, finally, the Government reads -- I'm
09:56:42     14    sorry -- stipulation number 9:
09:56:43     15                It is hereby stipulated and agreed by the United
09:56:46     16    States of America by its attorney, Patrick J. Fitzgerald, the
09:56:50     17    United States Attorney for the Northern District of Illinois,
09:56:52     18    and the defendant, individually and by his attorney, that
09:56:56     19    Government Exhibit Sprint 2 is a true and accurate copy of
09:57:00     20    phone records for the phone number (773) 858-6892 that were
09:57:07     21    made by Sprint Nextel at or near the time of the occurrence of
09:57:10     22    the matters set forth therein, that were kept in the course of
09:57:12     23    regularly conducted business activities, and that were made by
09:57:16     24    Sprint Nextel as part of its regular recordkeeping practice.
09:57:20     25                Government Exhibit Sprint 2 accurately reflects the



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09:57:22       1   calls made to or from phone number (773) 858-6892 from
09:57:30       2   January 1st, 2007 through January 8th, 2008 and from
09:57:35       3   February 23rd, 2009 through June 14, 2009.
09:57:38       4               So stipulated?
09:57:39       5               MR. RUBINO: Yes.
09:57:41       6               MS. GUREN: At this time the Government would move
09:57:43       7   into evidence Government Exhibit Sprint 2.
09:57:45       8               THE COURT: Okay. It will be admitted.
09:57:47       9               MS. GUREN: At this time the Government calls Sean
09:57:50     10    Geraghty to the stand.
09:58:07     11                (Witness takes the stand.)
09:58:07     12                THE COURT: Please raise your right hand.
09:58:09     13                (The witness was sworn.)
09:58:13     14                THE COURT: Okay. Have a seat.
09:58:15     15                MS. GUREN: And, your Honor, we actually also have
09:58:18     16    summary binders to pass out.
09:58:20     17                THE COURT: Okay. Marty, could you please help them
09:58:23     18    pass that out?
09:58:25     19                THE COURT SECURITY OFFICER: Sure.
09:58:25     20                THE COURT: Thank you.
09:58:25     21                                         - - -
09:58:25     22                       SEAN GERAGHTY, DIRECT EXAMINATION
09:58:25     23    BY MS. GUREN:
09:59:01     24    Q. Please state your name and spell your last name.
09:59:02     25    A. Sean Geraghty, G-e-r-a-g-h-t-y.



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09:59:06       1   Q. Where do you work?
09:59:07       2   A. I work for Chicago High Intensity Drug Trafficking Areas.
09:59:11       3   Q. Is that sometimes referred to as HIDTA?
09:59:14       4   A. Yes, it is.
09:59:14       5   Q. What is HIDTA?
09:59:15       6   A. HIDTA is a task force agency made up of FBI agents, DEA
09:59:21       7   agents, Chicago police, all sorts of law enforcement agencies.
09:59:26       8   Q. What is your position at HIDTA?
09:59:28       9   A. I'm an intel analyst.
09:59:29     10    Q. What is -- and does intel stand for intelligence?
09:59:32     11    A. Sorry. Intelligence analyst, yes.
09:59:35     12    Q. How long have you been an intelligence analyst at HIDTA?
09:59:38     13    A. Eight years now.
09:59:39     14    Q. Before you were an intelligence analyst at HIDTA, what job
09:59:42     15    did you have?
09:59:42     16    A. I worked for TCF Bank. I was fraud prevention.
09:59:46     17    Q. Did you receive any special training to become an
09:59:49     18    intelligence analyst?
09:59:50     19    A. Yes. When I first started, I took a two-week fleet course
09:59:56     20    down in Missouri, which basically taught me law enforcement
10:00:01     21    law and what I'd be doing as an intelligence analyst.
10:00:06     22                I also had training with FINCEN and Pen-Link advance,
10:00:11     23    Pen-Link basic.
10:00:12     24    Q. What's Pen-Link?
10:00:14     25    A. Pen-Link is a phone database that we use at the HIDTA to



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10:00:20       1   analyze phone records.
10:00:20       2   Q. What are your responsibilities as an intelligence analyst?
10:00:25       3   A. I analyze phone records, financial documents, assist law
10:00:31       4   enforcement in identifying subjects and criminal backgrounds,
10:00:37       5   that type of stuff.
10:00:38       6   Q. At this time I'm going to hand you a set of exhibits that
10:00:40       7   I'm going to be asking you to refer to throughout your
10:00:44       8   testimony. I'm going to hand you Government Exhibit Summary
10:00:47       9   4-A and 4-B, as well as Sprint 1 and Sprint 2.
10:01:04     10                Turning to the records in Government Exhibit
10:01:09     11    Sprint 1, did you review those records?
10:01:14     12    A. Yes, I did.
10:01:16     13    Q. What are those records?
10:01:18     14    A. These are phone call detail records on phone number
10:01:27     15    (773) 858-6892.
10:01:31     16                MS. GUREN: Your Honor, permission to publish
10:01:33     17    Government Exhibit Sprint 1?
10:01:34     18                THE COURT: Sure.
10:01:36     19    BY MS. GUREN:
10:01:37     20    Q. I'm going to show you Government Exhibit Sprint 1, page
10:01:45     21    PRECS, underscore, 003, underscore, 0804, and I just want to
10:01:52     22    magnify for you that top part.
10:01:54     23                Who does it show is the subscriber for this phone
10:01:57     24    number?
10:01:58     25    A. Rodney Carter, 1115 Harding Avenue, Calumet City,



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10:02:06       1   Illinois.
10:02:06       2               MS. GUREN: And, your Honor, permission to publish
10:02:09       3   Government Exhibit Mortgage 1?
10:02:10       4               THE COURT: Sure.
10:02:12       5   BY MS. GUREN:
10:02:12       6   Q. I'm now going to show you Government Exhibit Mortgage 1,
10:02:15       7   page FIN, underscore, 9, underscore, 2278. And looking at
10:02:22       8   this -- is this a document that you saw previous to your
10:02:25       9   testimony?
10:02:26     10    A. Yes, it is.
10:02:26     11    Q. Does the top of that document read, Borrower's new
10:02:32     12    residential telephone number confirmation?
10:02:32     13    A. Yes, it does.
10:02:36     14    Q. Who does it list for the borrower's name?
10:02:36     15    A. Ron Collins.
10:02:37     16    Q. What new home phone number does it list?
10:02:39     17    A. (773) 858-6892.
10:02:42     18    Q. Is that the same phone number in the Sprint records?
10:02:45     19    A. Yes, it is.
10:02:46     20    Q. Turning to the bottom part, is there a signature there?
10:02:50     21    A. Yes.
10:02:50     22    Q. And what is the date under the signature?
10:02:53     23    A. December 8th, 2006.
10:03:02     24    Q. Did you also review records contained in Government
10:03:08     25    Exhibit Sprint 2?



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10:03:08       1   A. Yes, I did.
10:03:08       2   Q. What are those records?
10:03:11       3   A. Phone records, call detail records on the -- I believe
10:03:19       4   it's the same phone number. Let me ...
10:03:23       5               This is call detail records and also pen register
10:03:27       6   records for (773) 858-6892.
10:03:31       7   Q. And is that the same number for Government Exhibit
10:03:33       8   Sprint 1?
10:03:33       9   A. Yes, it is.
10:03:34     10    Q. Did you create a summary chart summarizing these phone
10:03:38     11    records?
10:03:38     12    A. Yes, I did.
10:03:40     13    Q. Handing you -- I think, actually, what's before you right
10:03:43     14    now, is Government Exhibit Summary 4-A. I know I've given you
10:03:50     15    a lot of Redwells.
10:03:52     16    A. That's okay.
10:03:54     17    Q. Do you recognize Government Exhibit Summary 4-A?
10:03:57     18    A. Yes, I do.
10:03:58     19    Q. Is this the chart that you prepared from your review of
10:04:01     20    Government Exhibit Sprint 1 and Sprint 2?
10:04:04     21    A. Yes, it is.
10:04:04     22    Q. What does Government Exhibit 4-A summarize about those
10:04:09     23    records?
10:04:09     24    A. It is the phone calls between (414) 807-1085 and
10:04:16     25    (773) 858-6892.



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10:04:19       1   Q. Just to clarify, do you know from your personal knowledge
10:04:22       2   who used the phone number (414) 807-1085?
10:04:28       3   A. No, I do not.
10:04:29       4   Q. Are you familiar with the area code 414?
10:04:31       5   A. Yes, I am.
10:04:32       6   Q. What area code is that for?
10:04:33       7   A. Milwaukee, Wisconsin.
10:04:39       8   Q. Based on your review of Government Exhibit Sprint 1 and
10:04:44       9   Sprint 2, does the summary chart, Government Exhibit
10:04:45     10    Summary 4-A, accurately summarize calls between (414) 807-1085
10:04:48     11    and (773) 858-6892 contained in Sprint 1 and Sprint 2?
10:04:55     12    A. Yes, it does.
10:04:56     13                MS. GUREN: At this time the Government would move
10:04:57     14    into evidence Government Exhibit Summary 4-A.
10:05:02     15                THE COURT: That's fine.
10:05:03     16                MS. GUREN: May we have permission to publish it to
10:05:05     17    the jury?
10:05:05     18                THE COURT: You may.
10:05:05     19                MS. GUREN: And I believe the jury has binders with
10:05:10     20    the summary chart. May the jury look at Government Exhibit
10:05:12     21    Summary 4-A and 5-A.
10:05:12     22                THE COURT: Oh, and it matches, so, yes, you may.
10:05:15     23    Turn to Summary 4-A.
10:05:20     24    BY MS. GUREN:
10:05:21     25    Q. And I'm going to show you on your screen -- but you also



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10:05:23       1   have it before you in hard copy -- is this the summary chart
10:05:26       2   that you created?
10:05:28       3   A. Yes, it is.
10:05:29       4   Q. I want to go through the organization of it.
10:05:31       5               Can you tell me what you meant by date when you have
10:05:33       6   that as a column heading?
10:05:36       7   A. That was the date that the phone call was placed.
10:05:38       8   Q. What does the column heading time refer to?
10:05:41       9   A. The time that the phone call was placed.
10:05:43     10    Q. Is that time in twelve-hour time or 24-hour time?
10:05:46     11    A. 24-hour time.
10:05:47     12    Q. What does the column heading duration refer to?
10:05:50     13    A. That is the -- how long the phone call took.
10:05:55     14    Q. Do certain of these column rows show whole minutes?
10:05:59     15    A. Yes, they do.
10:06:00     16    Q. Is that -- what is your understanding of why they are in
10:06:02     17    whole minutes?
10:06:03     18    A. Basically, just because certain phone companies will bill
10:06:08     19    a phone call in whole minutes. So if it's a 30-second phone
10:06:13     20    call, they'll round it up to the nearest minute, so it would
10:06:16     21    be one minute long.
10:06:17     22    Q. Are there also durations in here that are for longer than
10:06:22     23    one minute?
10:06:24     24    A. Yes, there is [sic].
10:06:25     25    Q. I'm not -- I'm sorry. Not whole numbers. I should ask



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10:06:29       1   that differently. Let me rephrase.
10:06:31       2               Are there also rows in here where you have durations
10:06:34       3   that are not in whole numbers?
10:06:36       4   A. Oh, yes, there are.
10:06:38       5   Q. And is that records that came from the pen data, as
10:06:42       6   opposed to the telephone records?
10:06:44       7   A. Yes.
10:06:44       8   Q. Turning to the next column that you have the heading
10:06:47       9   target phone, what does that refer to?
10:06:49     10    A. That is the phone number that I took the analysis from
10:06:53     11    that I did my analysis with, from Government Exhibits Sprint 1
10:06:58     12    and 2.
10:06:59     13    Q. Why did you choose the adjective target for target phone?
10:07:03     14    A. That is the phone number where the phone records came
10:07:06     15    from.
10:07:06     16    Q. Turning to the column heading that says direction, what
10:07:09     17    does that refer to?
10:07:10     18    A. That's showing that the phone call is an incoming call or
10:07:16     19    an outgoing phone call.
10:07:18     20    Q. And would that be an incoming call to the target phone
10:07:21     21    number?
10:07:22     22    A. Correct.
10:07:22     23    Q. Turning to the next heading that says number dialed, what
10:07:26     24    does that refer to?
10:07:27     25    A. That's the phone number that the phone call came -- it was



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10:07:31       1   an incoming or outgoing phone call to, or from.
10:07:34       2   Q. -- summary chart is it always that number (414) 807-1085?
10:07:41       3   A. Yes, it is.
10:07:41       4   Q. In the last column, you've entitled it source exhibit.
10:07:43       5   What does source exhibit mean?
10:07:44       6   A. That's basically showing where I got the analysis from, if
10:07:49       7   it was from Exhibit Sprint 1 or Sprint 2.
10:07:53       8   Q. Could the jury go back to Sprint 1 or Sprint 2 and find
10:07:56       9   the information that you put in your summary chart?
10:07:59     10    A. Yes, it can.
10:08:00     11    Q. For the date range do these records start being summarized
10:08:05     12    on January 15, 2007?
10:08:07     13    A. Yes, it does.
10:08:08     14    Q. Turning to page 4 of this summary chart, is the last date
10:08:15     15    of this date range June 8th, 2009?
10:08:22     16    A. Yes, it is.
10:08:23     17    Q. What was the total number of calls that were between these
10:08:27     18    two phone numbers for this length of time in Government
10:08:30     19    Exhibit Sprint 1 and Sprint 2?
10:08:32     20    A. 153 phone calls.
10:08:34     21    Q. I notice that you have breaks on this last page. What do
10:08:38     22    these breaks refer to?
10:08:40     23    A. They represent phone data that we do not have for that
10:08:46     24    time period.
10:08:47     25    Q. So the phone records from January 8th, 2008 to



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10:08:52       1   October 14th, 2008, you didn't have in your possession?
10:08:56       2   A. No, I did not.
10:09:01       3   Q. Now, I want to turn your attention to Government Exhibit
10:09:05       4   Summary 4-B. Did you make a second summary based on your
10:09:09       5   review of Government Exhibit Sprint 1 and Sprint 2?
10:09:13       6   A. Yes, I did.
10:09:14       7   Q. And for that did you assist in creating a chart?
10:09:18       8   A. Yes, I did.
10:09:18       9   Q. Did you review it for accuracy?
10:09:20     10    A. Yes, I did.
10:09:21     11    Q. Looking at Government Exhibit Summary 4-B, is that the
10:09:24     12    chart that you prepared from your review of Government Exhibit
10:09:28     13    Sprint 1 and Sprint 2?
10:09:30     14    A. Yes, it is.
10:09:31     15    Q. What did that chart summarize?
10:09:33     16    A. This is the total calls per month between (414) 807-1085
10:09:39     17    and (773) 858-6892.
10:09:42     18    Q. Does Government Exhibit Summary Chart 4-B accurately
10:09:45     19    summarize those calls from Government Exhibits Sprint 1 and
10:09:49     20    Sprint 2?
10:09:50     21    A. Yes, it does.
10:09:50     22                MS. GUREN: We would move Government Exhibit Summary
10:09:54     23    Chart 4-B into evidence.
10:09:54     24                THE COURT: Okay. It will be admitted.
10:09:55     25                MS. GUREN: Permission to publish?



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10:09:56       1               THE COURT: Sure. Folks, you can turn to 4-B now in
10:09:58       2   your binder.
10:10:00       3   BY MS. GUREN:
10:10:01       4   Q. Showing you on your screen and before you in that folder,
10:10:04       5   is this the summary chart that you created?
10:10:07       6   A. Yes, it is.
10:10:08       7   Q. How is this chart organized?
10:10:12       8   A. The first column just shows the month starting at
10:10:15       9   January 2007 and ending June of 2009, and the second column
10:10:20     10    shows how many calls per month.
10:10:23     11    Q. Looking at this chart, I notice that you also have breaks
10:10:27     12    in it. What do those breaks represent?
10:10:29     13    A. They represent the time frame that I did not have for
10:10:34     14    the -- with the call records.
10:10:36     15    Q. You also have an asterisk next to certain months. What do
10:10:42     16    those asterisks represent?
10:10:43     17    A. The records did not include the full month.
10:10:45     18    Q. For these -- for this chart, which month has the highest
10:10:50     19    number of calls?
10:10:52     20    A. That would be January 2008.
10:10:55     21    Q. And is the bottom of total calls, is that the same number
10:10:59     22    that was in your other summary chart?
10:11:01     23    A. Yes, it is.
10:11:01     24    Q. What number is that for total amount of calls?
10:11:04     25    A. 153.



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10:11:06       1               MS. GUREN: May I have a moment, your Honor?
10:11:07       2               THE COURT: You may.
10:11:10       3               MS. GUREN: No further questions.
10:11:11       4               THE COURT: Okay. Mr. Rubino, any cross?
10:11:11       5                                        - - -
10:11:11       6                       SEAN GERAGHTY, CROSS-EXAMINATION
10:11:11       7   BY MR. RUBINO:
10:11:21       8   Q. Good morning, sir.
10:11:21       9   A. Good morning.
10:11:26     10    Q. Sir, these summary exhibits, specifically 4-A, it shows
10:11:34     11    calls made to and received from (414) 807-1085 to
10:11:45     12    (773) 858-6982, right?
10:11:48     13    A. That's correct.
10:11:49     14    Q. Now, sir, other calls were made from and received by the
10:11:57     15    414 number besides these calls, correct?
10:12:00     16    A. That is correct.
10:12:01     17    Q. But you didn't put those on this chart; am I correct?
10:12:07     18    A. Yes, you are correct.
10:12:08     19    Q. And with respect to the 773 number, other calls were made
10:12:12     20    by that number outgoing and other calls were received incoming
10:12:17     21    by that number which are not reflected on this chart; am I
10:12:21     22    correct?
10:12:22     23    A. That's correct.
10:12:23     24    Q. Now, looking at page 1 of the summary, 4-A, with the
10:12:30     25    exception of 8/16/07, that date, every single call is exactly



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10:12:38       1   one minute. Is that not true?
10:12:44       2   A. Not exactly one minute. If you go further, like
10:12:50       3   November 12th of 2007, there's --
10:12:51       4   Q. No. I'm sorry to interrupt you.
10:12:53       5   A. Okay.
10:12:54       6   Q. I'm talking about page 1 only.
10:12:57       7   A. Oh, I'm sorry, yes.
10:12:59       8   Q. 1/15 through 9/2/07. We'll do page 2 next.
10:13:03       9   A. Okay.
10:13:03     10    Q. Page 1, every single call, with the exception of 8/16/07,
10:13:08     11    which is a two-minute call, every call is one minute?
10:13:10     12    A. That's correct.
10:13:11     13    Q. Now, was the call exactly one minute or is that the way
10:13:16     14    Sprint billed?
10:13:16     15    A. That's the way it bills.
10:13:17     16    Q. So, in other words, these could have been a 59-second
10:13:20     17    call, a 30-second call, but they are shown at one minute?
10:13:24     18    A. That's correct.
10:13:25     19    Q. That doesn't necessarily mean the conversation lasted one
10:13:28     20    minute, does it?
10:13:29     21    A. No.
10:13:31     22    Q. Now, turning over to the second page now, I notice it
10:13:36     23    stays that way until we reach 11/12/07. Then we see
10:13:43     24    increments in seconds for the rest of the page; am I correct?
10:13:49     25    A. Yes, that's correct.



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10:13:50       1   Q. What's the reason for that?
10:13:52       2   A. Because that was taken from -- taken from pen register
10:13:57       3   data. And so it is given an exact time when -- or how long
10:14:01       4   the exact phone call took place.
10:14:12       5   Q. There was a pen register on 414 or 773?
10:14:23       6   A. I believe it was 773.
10:14:28       7   Q. Okay. Now, the next page, the third page, again, are
10:14:34       8   exact amounts, correct?
10:14:37       9   A. That is correct.
10:14:39     10    Q. And the fourth page also, correct?
10:14:43     11    A. That is correct.
10:14:45     12                MR. RUBINO: Okay. I have nothing further. Thank
10:14:46     13    you.
10:14:46     14                THE COURT: Okay. Any redirect?
10:14:48     15                MS. GUREN: Yes, your Honor.
10:14:49     16                                         - - -
10:14:49     17                      SEAN GERAGHTY, REDIRECT EXAMINATION
10:14:49     18    BY MS. GUREN:
10:14:51     19    Q. Just to clarify. Sprint 1 and 2, those are records for
10:14:54     20    the 773 number, correct?
10:14:56     21    A. That's correct.
10:14:57     22    Q. You didn't -- did you have records for 414 to analyze?
10:15:01     23    A. No, I did not.
10:15:02     24    Q. So you didn't -- so when you testified as to whether or
10:15:05     25    not there's other calls for 414, that's an assumption?



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10:15:09       1   A. That's correct.
10:15:10       2   Q. But for 773 there were other calls?
10:15:13       3   A. Yes. That's the phone analysis I took it from.
10:15:16       4   Q. For -- you talked about it being a pen register.
10:15:19       5   A. Yes.
10:15:19       6   Q. What is a pen register?
10:15:21       7   A. It's basically phone data that's taken directly from the
10:15:28       8   phone company that's brought into our Pen-Link system. So
10:15:33       9   it'll show like, for instance, it's not just the billing
10:15:36     10    calls. It'll show the exact phone call, and it's a live --
10:15:40     11    it's a live system, so ...
10:15:41     12    Q. So it happens at the time that a call comes through?
10:15:45     13    A. Correct.
10:15:46     14                MS. GUREN: No further questions, your Honor.
10:15:47     15                THE COURT: Anything else?
10:15:47     16                MR. RUBINO: Nothing further.
10:15:48     17                THE COURT: Okay. Sir, you can step down and be
10:15:50     18    excused.
10:16:03     19                (Witness leaves the stand.)
10:16:03     20                THE COURT: Okay. Your next witness.
10:16:04     21                MS. GUREN: Your Honor, we have two more stipulations
10:16:06     22    to read.
10:16:06     23                THE COURT: Okay.
10:16:07     24                MS. GUREN: Stipulation number 3: It is hereby
10:16:10     25    stipulated and agreed by the United States of America by its



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10:16:15       1   attorney, Patrick J. Fitzgerald, the United States Attorney
10:16:17       2   for the Northern District of Illinois, and the defendant,
10:16:20       3   individually and by his attorneys, that the following facts
10:16:23       4   are true:
10:16:24       5               If called as a witness, a custodian of records for
10:16:27       6   American Family Mutual Insurance Company and American Family
10:16:32       7   Standard Insurance Company would testify that he or she has
10:16:34       8   knowledge of the relevant recordkeeping system and that each
10:16:37       9   of the described records were made or received and maintained
10:16:40     10    in the regular course of business of American Family Mutual
10:16:45     11    Insurance Company and American Family Standard Insurance
10:16:48     12    Company around the time of the transactions reflected in the
10:16:50     13    records, and that it is the regular practice of American
10:16:55     14    Family Mutual Insurance Company and American Family Standard
10:16:57     15    Insurance Company to make or receive such records.
10:16:59     16                A, Government Exhibit Auto 1.
10:17:02     17                So stipulated?
10:17:02     18                MR. RUBINO: Yes.
10:17:03     19                MS. GUREN: At this time we would move into evidence
10:17:06     20    Government Exhibit Auto 1.
10:17:07     21                THE COURT: It will be admitted.
10:17:08     22                MS. GUREN: Stipulation 11 -- yeah, Stipulation 11:
10:17:14     23                It is hereby stipulated and agreed by the United
10:17:18     24    States of America by its attorney, Patrick J. Fitzgerald, the
10:17:22     25    United States Attorney for the Northern District of Illinois,



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10:17:24       1   and the defendant, individually and by his attorney, that the
10:17:27       2   following facts are true:
10:17:28       3               Ron Collins' Social Security number ends with 7258.
10:17:34       4               Ron Collins used the address
10:17:39       5            in Calumet Park, Illinois as a mailing address.
10:17:41       6               So stipulated?
10:17:42       7               MR. RUBINO: Yes.
10:17:44       8               MS. GUREN: At this time the Government calls Bruce
10:17:47       9   Killian.
10:17:48     10                THE COURT: Okay.
10:18:04     11                (Witness takes the stand.)
10:18:08     12                THE COURT: Right here, sir.
10:18:09     13                Please raise your right hand.
10:18:12     14                (The witness was sworn.)
10:18:16     15                THE COURT: Okay. Have a seat.
10:18:21     16                                         - - -
10:18:21     17                       BRUCE KILLIAN, DIRECT EXAMINATION
10:18:21     18    BY MS. GUREN:
10:18:24     19    Q. Good morning.
10:18:26     20                Can you please state and spell your last name?
10:18:28     21    A. Bruce Killian, last name K-i-l-l-i-a-n.
10:18:32     22    Q. Where do you work?
10:18:33     23    A. I work as a contractor with the U.S. Attorney's Office in
10:18:35     24    Chicago. I do financial investigations.
10:18:38     25    Q. How long have you worked as a contractor doing financial



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10:18:42       1   investigations at the U.S. Attorney's Office?
10:18:44       2   A. Since September -- I'm sorry -- November 2008.
10:18:47       3   Q. What type of work agreement do you have with the
10:18:49       4   U.S. Attorney's Office?
10:18:51       5   A. I'm a contractor.
10:18:53       6   Q. When does your contract expire?
10:18:55       7   A. It expires this year in September.
10:18:58       8   Q. How long was your contract?
10:18:58       9   A. I had three one-year contracts.
10:19:01     10    Q. How were you paid for your work?
10:19:03     11    A. I'm paid by the hour. I get paid just so much per hour
10:19:07     12    worked.
10:19:07     13    Q. Just to approximate, how many investigations have you
10:19:09     14    worked on while at the U.S. Attorney's Office being a
10:19:13     15    contractor?
10:19:14     16    A. Well, in the preliminary stages of most investigations, I
10:19:18     17    do work in commercial databases to identify assets that might
10:19:23     18    be available for forfeiture. And then in some investigations
10:19:27     19    I get into more detailed analysis of accounting records,
10:19:32     20    loans, documents of a financial nature.
10:19:34     21    Q. For those more detailed investigations where you get into
10:19:37     22    more financial analysis, about how many investigations have
10:19:40     23    you worked on?
10:19:41     24    A. I would estimate about ten.
10:19:43     25    Q. What are your responsibilities as -- for your work?



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10:19:47       1   A. My responsibilities include identifying assets for
10:19:51       2   forfeiture, identifying real estate that might be owned by
10:19:55       3   some people under investigation, analyzing accounting records,
10:20:02       4   analysis on mortgage files, documents that might be contained
10:20:07       5   in various financial records.
10:20:09       6   Q. What position did you have before becoming a contractor
10:20:12       7   for the U.S. Attorney's Office?
10:20:14       8   A. I was an internal revenue agent for about 38 years.
10:20:18       9   Q. What were your responsibilities as an internal revenue
10:20:21     10    agent?
10:20:21     11    A. In general, internal revenue agents conduct examinations
10:20:24     12    of taxpayers, individuals, and various business entities to
10:20:29     13    determine the correct tax liability.
10:20:32     14    Q. What is your formal educational background?
10:20:34     15    A. I have a degree in accounting from the University of
10:20:37     16    Illinois in Chicago.
10:20:38     17    Q. Are you licensed in any field?
10:20:41     18    A. Yes. I'm a licensed certified public accountant in
10:20:45     19    Illinois.
10:20:45     20    Q. After finishing your formal training, did you complete any
10:20:48     21    training courses?
10:20:50     22    A. At the IRS we continually had training to update our
10:20:54     23    knowledge of the current tax law, changes in the tax law, and
10:20:58     24    refresher information on things that are important to -- in
10:21:04     25    the tax law.



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10:21:05       1   Q. Now, you've talked about your responsibilities using a
10:21:07       2   bunch of terms. In just layman's terms, what are you doing
10:21:12       3   when you do your financial analysis?
10:21:13       4   A. I'm trying to follow the money trail.
10:21:16       5   Q. In the course of your work, do you look at voluminous
10:21:19       6   financial records?
10:21:20       7   A. I do.
10:21:21       8   Q. What types of financial records?
10:21:24       9   A. Bank statements, loan documents, mortgage files tend to be
10:21:29     10    quite thick. I do -- I seem to do a lot of real estate
10:21:33     11    research where I have access to the public databases and
10:21:37     12    develop information on real estate owned by subjects and try
10:21:43     13    to trace the ownership of cars, vehicles that might be owned.
10:21:47     14    Q. Have you studied financial exhibits for this
10:21:50     15    investigation?
10:21:50     16    A. I have.
10:21:52     17    Q. What types of records are those?
10:21:55     18    A. Bank statements, there's canceled checks for a bank
10:22:01     19    account, deposit items, checks deposited, withdrawals from the
10:22:07     20    bank account, loan documents including mortgage files, loans
10:22:11     21    for vehicles, loans -- insurance documents, that's about it.
10:22:19     22    Q. Did you also look at credit card statements too?
10:22:22     23    A. Yes, credit card statements.
10:22:23     24    Q. Have you prepared a number of charts summarizing
10:22:25     25    information from these financial exhibits?



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10:22:27       1   A. I have.
10:22:28       2   Q. Will you be giving any opinions or reaching any
10:22:31       3   conclusions with regard to those summaries?
10:22:34       4   A. No. They are just summaries I put in a format that might
10:22:38       5   be easier to understand for the Court.
10:22:40       6   Q. I'm going to at this time hand you two boxes of financial
10:22:43       7   exhibits as well as Government Exhibit 3-A through 3-K.
10:22:57       8               I -- upon good advice from my co-counsel, so I don't
10:22:59       9   have to carry these boxes over to you, do you mind stepping
10:23:03     10    down to this table and just looking through these documents to
10:23:06     11    see whether or not these are the files that you reviewed in
10:23:09     12    terms of your analysis? And then if you do need to refer to
10:23:13     13    them, I will hand them to you.
10:23:16     14    A. (Complying.)
10:24:32     15    Q. You've just stepped down to review a bunch of financial
10:24:36     16    exhibits. Are these the financial exhibits that you relied on
10:24:39     17    for your summary charts?
10:24:40     18    A. I have reviewed all of those, yes.
10:24:42     19    Q. Among the records you reviewed, did you review the records
10:24:46     20    contained in Government Exhibit Chase 5?
10:24:53     21    A. Yes.
10:24:54     22    Q. What are the records in that exhibit?
10:24:56     23    A. That would be the bank account that Mr. Collins opened at
10:25:02     24    Chase Bank. The records include a signature card that
10:25:04     25    identified Mr. Collins by name and address, bank statements,



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10:25:09       1   canceled checks, items of withdrawal, deposit items that
10:25:14       2   include the cash deposited, and there's one cashier's check.
10:25:22       3   Q. Is that account a checking account?
10:25:25       4   A. It's a checking account, yes.
10:25:27       5   Q. Have you created a summary chart into [sic] Government
10:25:32       6   Exhibit 3-A?
10:25:32       7   A. I have.
10:25:33       8   Q. I'm sorry. In Government Exhibit 3-A?
10:25:35       9   A. Yes.
10:25:36     10    Q. Looking at Government Exhibit Summary 3A that I've handed
10:25:41     11    up to you, is that the chart that you prepared for all the
10:25:44     12    deposits from that bank account record in Government
10:25:49     13    Exhibit Chase 5?
10:25:50     14    A. Yes.
10:25:52     15    Q. Have you reviewed this chart and underlying documents in
10:25:55     16    preparation for your testimony?
10:25:56     17    A. I have.
10:25:57     18    Q. Based on Government Exhibit Chase 5, does the summary
10:26:00     19    chart, Government Exhibit Summary 3A, accurately summarize
10:26:04     20    deposits into the Chase Bank checking account?
10:26:07     21    A. I believe it does.
10:26:08     22                MS. GUREN: At this time we would move into evidence
10:26:10     23    Government Exhibit Summary 3A.
10:26:11     24                THE COURT: Okay. It will be admitted.
10:26:14     25                MS. GUREN: Permission to publish to the jury?



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10:26:16       1               THE COURT: Sure. And you can turn to this one now
10:26:18       2   in your binders, folks.
10:26:26       3   BY MS. GUREN:
10:26:27       4   Q. Mr. Killian, I'm going to show you on the screen -- but
10:26:29       5   you also have in hard copies before you -- the first page of
10:26:31       6   Government Exhibit Summary 3A. Looking at the column
10:26:37       7   headings, can you go through what you meant by each of the
10:26:42       8   headings?
10:26:43       9   A. I can. The first column to the left is the date. That
10:26:47     10    would be the adds as reflected on the bank statement by the
10:26:51     11    bank.
10:26:52     12    Q. What does the total deposit refer to?
10:26:55     13    A. That would be the total amount deposited on that
10:26:58     14    particular day for that particular deposit.
10:27:00     15    Q. Then there's the cash deposited and the checks deposited
10:27:04     16    columns. What do those two columns refer to?
10:27:07     17    A. I categorize the deposits into two types. The cash
10:27:11     18    deposited, which is the next column, and checks deposited into
10:27:15     19    the account.
10:27:16     20    Q. So will the columns cash deposited and checks deposited
10:27:19     21    add up to the total deposit column?
10:27:23     22    A. They should.
10:27:23     23    Q. Turning to the next column, check payors, what does that
10:27:26     24    refer to?
10:27:27     25    A. If there was a check deposited, that would be the maker of



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10:27:30       1   the check that was payable to Mr. Collins or whoever -- there
10:27:34       2   were others, so, yes, that's the maker.
10:27:37       3   Q. What does the check memo column refer to?
10:27:40       4   A. If there was a memo comment on the check, that would be
10:27:44       5   listed there.
10:27:46       6   Q. For the date column, is the date in chronological order?
10:27:51       7   A. I believe it is.
10:27:52       8   Q. What is the date range for this summary chart that you've
10:27:56       9   created?
10:27:57     10    A. March 14th, 2006 to May 19th, 2009.
10:28:06     11    Q. Turning to the last page of this exhibit, which is page 3,
10:28:14     12    I notice that you've got some additional notations at the
10:28:20     13    bottom. You have a line that says less, and then it says cash
10:28:27     14    withdrawals Government Exhibit 3-B. And you have also cash
10:28:33     15    withdrawals, withdrawn Double R Construction and cash received
10:28:36     16    from Government Exhibit Chase 4. Just in general, what does
10:28:40     17    this section represent?
10:28:41     18    A. I was trying to account for the cash that I could find
10:28:45     19    that Mr. Collins took out of -- got from various sources that
10:28:50     20    could have been redeposited into the bank account or used to
10:28:53     21    pay some of the expenses or expenditures that are detailed in
10:28:57     22    later schedules.
10:28:58     23    Q. So was this done just to make sure that your chart was
10:29:02     24    conservative?
10:29:03     25    A. Yes.



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10:29:03       1   Q. For the first line, cash withdrawals Government
10:29:06       2   Exhibit 3-B, what does that refer to?
10:29:07       3   A. Government Exhibit 3-B is a schedule of all the
10:29:10       4   withdrawals from this same checking account.
10:29:13       5   Q. What is cash withdrawn Double R Construction refer to?
10:29:18       6   A. Mr. Collins started a -- well, he opened a bank account at
10:29:22       7   Chase Bank, I believe, in September of 2009 for a company
10:29:26       8   called Double R Construction.
10:29:28       9   Q. Do you know whether or not that company exists?
10:29:32     10    A. I just know about the bank account.
10:29:34     11    Q. For Double -- and for Double R Construction, did you then
10:29:38     12    put the amount of cash that was withdrawn from that account?
10:29:41     13    A. I did.
10:29:42     14    Q. For cash received from Government Exhibit Chase 4, what
10:29:46     15    does that refer to?
10:29:47     16    A. Mr. Collins received a $2,000 cash advance on a credit
10:29:52     17    card, a Chase credit card, so that was cash that he had
10:29:55     18    available to him.
10:29:56     19    Q. I also notice that at the bottom you have notes where you
10:30:01     20    have, Deposited checks were payable to Ron Collins unless
10:30:03     21    noted. What does that mean?
10:30:05     22    A. That means if there was a check that was deposited into
10:30:08     23    the bank account, the maker of the check had made it payable
10:30:11     24    to Ron Collins.
10:30:12     25    Q. There's also a double asterisk where it says, Deposit slip



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10:30:16       1   only. What does that refer to?
10:30:17       2   A. The bank for four, five deposits could not supply a copy
10:30:23       3   of what's usually known as the cash confirmation slip or a
10:30:28       4   cash-in slip for the bank. So all that I have for that
10:30:32       5   deposit item is a copy of the deposit slip indicating that
10:30:37       6   cash was deposited, because cash goes on the first line of the
10:30:40       7   deposit slip.
10:30:41       8   Q. So turning to page 2 of Government Exhibit 3-A and just
10:30:45       9   looking at the bottom section where it shows the dates
10:30:49     10    March 2nd, 2009, and March 25th, 2009, and April 29, 2009,
10:30:54     11    with those double asterisks, are those times where there was
10:30:58     12    not that cash confirmation notice, but there was a deposit
10:31:03     13    slip that said there was cash on it?
10:31:05     14    A. That's correct.
10:31:10     15    Q. Turning to the first page of that exhibit, on this very
10:31:15     16    first line where it says March 14, 2006, you've got cash
10:31:20     17    deposited with a parenthetical, and then a check deposited and
10:31:25     18    a check payor of Luxury Motors of Orland Park. What does that
10:31:30     19    parenthetical around the 500 refer to?
10:31:32     20    A. That total check was for $1626.69. The net deposit to
10:31:37     21    this account was $500 less. That $500 went to a savings
10:31:43     22    account that Mr. Collins had at the same bank. So in the
10:31:46     23    negative means that subtraction of cash.
10:31:53     24    Q. Now, going to page 2 again. You've got on line
10:32:01     25    February 27, 2009 a $5,000 total deposit and you've got



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10:32:06       1   unknown in the check payor column. What does that refer to?
10:32:10       2   A. For that particular item all there was was a deposit slip
10:32:13       3   with an amount $5,000 at the bottom. It wasn't denoted cash
10:32:20       4   or checks and the bank didn't supply any additional
10:32:23       5   information. So I just had it as unscheduled, I couldn't tell
10:32:26       6   what it was.
10:32:26       7   Q. Starting in about August 4th, 2008, on this second page
10:32:31       8   through the last page, are the only check deposits the ones on
10:32:40       9   September 22nd, 2008 and February 2nd, 2009?
10:32:48     10    A. February 22nd, 2008 --
10:32:50     11    Q. I'm sorry. September 22nd, 2008 and February 2, 2009, are
10:32:55     12    those the only check deposits?
10:32:57     13    A. Yes.
10:32:58     14    Q. After August 4th, 2008?
10:33:00     15    A. Yes.
10:33:03     16    Q. Turning now to the very last page, what was the total
10:33:06     17    amount of deposits that you found in this account?
10:33:08     18    A. The total amount was $145,223.45 for the period that I
10:33:16     19    described.
10:33:17     20    Q. What was the cash deposits total?
10:33:20     21    A. $53,800.
10:33:22     22    Q. And after you took out those cash withdrawals, what was
10:33:25     23    the net cash deposits?
10:33:27     24    A. $37,105.56.
10:33:30     25    Q. So is that cash that the defendant had on hand?



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10:33:34       1   A. That's accounting for cash that the defendant used. That
10:33:38       2   was one -- he used that money to put it in the bank accounts.
10:33:42       3   He had it available and he put it in the bank account.
10:33:46       4   Q. And what is the total amount of check deposits that are
10:33:48       5   there?
10:33:48       6   A. $86,423.54.
10:33:53       7   Q. Now, I want to turn your attention to Government
10:33:57       8   Exhibit Summary 4-B. Did you create this summary chart?
10:34:06       9   A. (No response.)
10:34:06     10    Q. I think I said Government Exhibit 4-B and I meant
10:34:10     11    Government Exhibit Summary 3-B.
10:34:18     12    A. I did.
10:34:19     13    Q. What is this chart?
10:34:21     14    A. This is a summary of the same checking account, all the
10:34:25     15    withdrawals from that account.
10:34:27     16    Q. What -- did you use Government Exhibit Chase 5 for this
10:34:31     17    summary chart as well?
10:34:33     18    A. Yes.
10:34:33     19    Q. Specifically what was the types [sic] of information that
10:34:35     20    you included in this chart?
10:34:37     21    A. That would be canceled checks, if there were checks that
10:34:42     22    were written, that would be withdrawal slips, if Mr. Collins
10:34:44     23    took cash out of the account. It would be point of sales,
10:34:51     24    debits where Mr. Collins would have used a debit card at a
10:34:55     25    commercial vendor to make an expense or transfers or fees.



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10:35:01       1   Q. Based on Government Exhibit Chase 5, does Government
10:35:05       2   Exhibit Summary 3-B accurately summarize these withdrawals and
10:35:07       3   checks drawn from the Chase checking bank account?
10:35:11       4   A. I believe it does.
10:35:12       5               MS. GUREN: At this time we would move Government
10:35:14       6   Exhibit Summary 3-B into evidence.
10:35:15       7               THE COURT: Okay. It will be admitted.
10:35:17       8               MS. GUREN: Permission to publish, your Honor?
10:35:19       9               THE COURT: Sure. You can turn to 3-B now, folks, in
10:35:22     10    your binder.
10:35:24     11    BY MS. GUREN:
10:35:25     12    Q. Now, turning to the first page of this exhibit and going
10:35:28     13    through the organization, what does date, as the column
10:35:33     14    heading, refer to?
10:35:34     15    A. The date would be the date identified the transaction was
10:35:38     16    posted to Chase Bank.
10:35:39     17    Q. What does type refer to?
10:35:41     18    A. I tried to categorize some of the withdrawals into
10:35:44     19    different categories, so I put the different categories I used
10:35:49     20    in that column.
10:35:50     21    Q. What does amount refer to?
10:35:51     22    A. That should be the total amount of the withdrawal from the
10:35:54     23    account.
10:35:55     24    Q. For the next four columns, withdrawal, checks amount, POS
10:36:00     25    debit, transfers, fees, and other, are those then just



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10:36:03       1   categories of that amount column?
10:36:05       2   A. That's correct. I tried to put them in different
10:36:08       3   categories.
10:36:09       4   Q. What does withdrawal refer to?
10:36:10       5   A. That should be where there was a withdrawal slip and
10:36:13       6   Mr. Collins withdrew cash from the account.
10:36:15       7   Q. What does check amount refer to?
10:36:17       8   A. That would be the amount of the check that was made
10:36:20       9   payable from that bank account.
10:36:22     10    Q. What does POS debit mean?
10:36:25     11    A. That's use of a debit card. I called it point of sales
10:36:29     12    transactions. That might be what they identified it as at the
10:36:32     13    bank.
10:36:32     14    Q. So that's just the debit card that the bank might give
10:36:35     15    you?
10:36:35     16    A. Correct.
10:36:36     17    Q. What does transfers, fees, and other refer to?
10:36:41     18    A. There were monthly transfers to a savings account, so I
10:36:45     19    would put the transfers there. There were some service fees.
10:36:49     20    There's miscellaneous payments.
10:36:51     21    Q. For the last payment you've got payee or description.
10:36:54     22    What does that refer to?
10:36:55     23    A. That would be the vendor that received the payment, if
10:37:01     24    identified, either the check or the debit card or in some
10:37:06     25    cases fees.



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10:37:07       1   Q. What is the total date range for Government Exhibit
10:37:11       2   Summary 3-B?
10:37:12       3   A. March 21st, 2006 to May 19th, 2009.
10:37:20       4   Q. I want to first go to that first column where you've got
10:37:23       5   types and just go through some of these.
10:37:28       6               You've got fee listed on that column. What is that
10:37:31       7   referring to?
10:37:31       8   A. Occasionally there would be a service fee from the bank.
10:37:34       9   The first one is where he purchased checks, Mr. Collins
10:37:37     10    purchased checks.
10:37:39     11    Q. The next label that you've got is tran. What does tran
10:37:43     12    stand for?
10:37:44     13    A. That would be the transfers to the savings account.
10:37:48     14    Q. I also see a line that says CK 301. What does that mean?
10:37:52     15    A. That would be check 301.
10:37:55     16    Q. Then there's one that says POS. What does that refer to?
10:37:58     17    A. Point of sales transaction, the debit card.
10:38:05     18    Q. When you were talking about those transfers from the
10:38:07     19    savings account, did you review records of that savings
10:38:09     20    account?
10:38:09     21    A. I did.
10:38:14     22    Q. Is that Chase Exhibit 6?
10:38:16     23    A. I believe it is.
10:38:16     24    Q. What activity, if any, did you see in that savings account
10:38:20     25    that's in Government Exhibit Chase 6?



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10:38:22       1   A. There was the initial $500, that was part of the initial
10:38:26       2   deposit. The check from Luxury Motors. And then every month
10:38:30       3   there was a $25 transfer into the account, and a little later
10:38:35       4   the bank started charging a $12 fee on the savings account.
10:38:40       5   So those were the only transactions I noticed.
10:38:43       6   Q. What was the $12 fee for?
10:38:46       7   A. I'm not sure.
10:38:49       8   Q. Turning your attention back to the chart, where you've got
10:38:54       9   POS as the type, how -- does the last column where you have
10:39:01     10    description describe what that debit card use was for?
10:39:04     11    A. Yes. That would be listed on the bank statement.
10:39:07     12    Q. So, for example, looking at this would there -- for the
10:39:12     13    date August 10, 2006, what was the debit card description
10:39:17     14    there?
10:39:18     15    A. The description is Twelve Atlantic Station, Atlanta,
10:39:26     16    Georgia.
10:39:26     17    Q. And for the dates October 3rd, 2006 through October 11,
10:39:33     18    2006, what's the description for the debit card?
10:39:35     19    A. AirTran Air.
10:39:48     20    Q. Turning now to the fifth page of Government
10:39:52     21    Exhibit Summary 3-B and bringing your attention to -- I
10:40:04     22    apologize -- bringing your attention to May 6, 2008, which I
10:40:09     23    actually believe is page 4.
10:40:11     24                So on May 6, 2008, you've got a different description
10:40:15     25    there in the type. It says cash check -- or cash CK. What



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10:40:19       1   does that refer to?
10:40:20       2   A. That refers to a cashier's check.
10:40:24       3   Q. And what was that cashier's check for?
10:40:27       4   A. That was part of Mr. Collins' payment at the closing when
10:40:32       5   he purchased real estate on Calumet.
10:40:39       6   Q. Turning now to October 9, 2008, which is on page 5 -- oh,
10:40:54       7   there is no October 9th, so I've clearly gotten that wrong.
10:40:58       8               Was there a date that you have where you didn't know
10:41:01       9   if it was a cash or a check?
10:41:05     10    A. I believe there was, yes.
10:41:12     11    Q. How did you indicate that?
10:41:15     12    A. I think I put it as unknown.
10:41:20     13    Q. Turning now to the last page, this page 7 of Government
10:41:26     14    Exhibit Summary 3-B, what were the total withdrawals from the
10:41:30     15    checking account that came out for money?
10:41:38     16    A. You know, backing up, the one I wasn't sure if it was a
10:41:41     17    cash or check I categorized as a cash withdrawal. It was on
10:41:45     18    October 9th, 2008.
10:41:51     19    Q. Oh, I see. It's on page 6. Thank you for that.
10:41:54     20                So page 6 at the top where it says October 9, 2008, I
10:42:00     21    see for the type you put W, slash, D?
10:42:03     22    A. Correct.
10:42:03     23    Q. And that's that not known [sic] if it was a cash or a
10:42:06     24    check?
10:42:06     25    A. Cash or check withdrawal, I didn't know it, so I put it as



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10:42:11       1   cash.
10:42:11       2   Q. Thank you, Mr. Killian.
10:42:12       3               Turning now to the last page, page 7, what was the
10:42:17       4   total amount of withdrawals from this account for this time
10:42:22       5   period?
10:42:22       6   A. $143,047.04.
10:42:27       7   Q. And can the jury determine from the next couple of columns
10:42:30       8   which types of withdrawals came out?
10:42:33       9   A. Yes.
10:42:39     10    Q. Did you review other records of bank accounts linked to
10:42:43     11    the defendant?
10:42:44     12    A. I did.
10:42:45     13    Q. And are those in Government Exhibit Chase 6 through 10?
10:42:49     14    A. I believe that's the categorization, yes.
10:42:55     15    Q. What names were used for accounts in Government
10:42:58     16    Exhibit Chase 7 through 10?
10:43:00     17    A. I believe one was Hilarious Entertainment and one was
10:43:04     18    Double R Construction.
10:43:05     19    Q. Did you do a summary chart for those accounts?
10:43:08     20    A. I did.
10:43:09     21    Q. Is it included in this financial analysis?
10:43:11     22    A. I don't believe so.
10:43:12     23    Q. Why not?
10:43:13     24    A. Because the activity in both accounts was minimal.
10:43:17     25    Q. Turning your attention now to Government Exhibit



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10:43:21       1   Summary 3C through 3E, did you also prepare these summary
10:43:26       2   charts summarizing real estate records?
10:43:28       3   A. I did.
10:43:29       4   Q. For these charts what records did you review?
10:43:33       5   A. Most of the records were included in the mortgage files,
10:43:36       6   provided either by the title companies or the mortgagors.
10:43:40       7   Q. Are the exhibits that you relied on referenced in each of
10:43:44       8   those summary charts?
10:43:46       9   A. Yes.
10:43:46     10    Q. And are those Government Exhibit Mortgage 1 through 6 and
10:43:50     11    some money order exhibits as well?
10:43:53     12    A. I think it's Mortgage 1, 2, 3.
10:43:58     13    Q. And were there also --
10:44:00     14    A. And the money order exhibit, yes.
10:44:03     15    Q. First, turning to Government Exhibit Summary 3C, what does
10:44:06     16    this chart summarize?
10:44:08     17    A. It summarizes payments made by Mr. Collins that were
10:44:12     18    attributed to the purchase of real estate that I could not
10:44:15     19    trace to the bank account.
10:44:19     20    Q. Looking at Government Exhibit Summary 3C, what exhibits
10:44:23     21    did you use to prepare this chart?
10:44:28     22    A. I used Exhibits GX Mortgage 1, 2, 3, and GX Money Order 2.
10:44:40     23    Q. Specifically what were the types of documents in those
10:44:45     24    exhibits?
10:44:48     25    A. The documents in the mortgage files would include the



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10:44:54       1   initial contract for purchase signed by Mr. Collins. It would
10:44:58       2   include the credit reports. It would include mortgage
10:45:04       3   documents. It would include internal bank -- or lender
10:45:09       4   verifications. It would include the actual mortgage, the
10:45:15       5   note, things of that nature in the mortgage file.
10:45:18       6   Q. In reviewing those exhibits and this chart, is this chart
10:45:23       7   an accurate summary of the initial payments for real estate
10:45:28       8   purchases that are not traced to his Chase checking account?
10:45:32       9   A. I believe it is.
10:45:33     10                MS. GUREN: At this time we would move into evidence
10:45:35     11    Government Exhibit Summary 3C.
10:45:36     12                THE COURT: Okay. It will be admitted, and, folks,
10:45:39     13    you can turn to 3C now.
10:45:44     14    BY MS. GUREN:
10:45:45     15    Q. Now, I asked you if these were payments not traced to the
10:45:48     16    checking account. For the remaining summary charts, are all
10:45:53     17    of the summary charts, except for that very last summary
10:45:57     18    chart, what -- summaries of payments not traced to that Chase
10:46:02     19    checking account?
10:46:02     20    A. That's correct. I tried to find the payments that I could
10:46:05     21    document that did not come out of the Chase Bank account.
10:46:10     22    Q. So these are sources that are external to that?
10:46:13     23    A. Correct.
10:46:14     24    Q. Looking at this exhibit for the first part of it, you've
10:46:17     25    got earnest money. What is earnest money?



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10:46:21       1   A. Earnest money is a payment that a buyer in, particularly,
10:46:26       2   real estate would make to ensure that -- to the seller that
10:46:30       3   they are earnest about purchasing the property. So it's like
10:46:33       4   a down payment, I would say.
10:46:35       5   Q. And I see that you've got two different earnest money
10:46:38       6   payments summarized. You have payment source column. What
10:46:43       7   does the payment source column refer to?
10:46:45       8   A. For those two I was able to identify the source of the
10:46:47       9   payment as money orders purchased at that currency exchange.
10:46:51     10    Q. For this source exhibit, is that where you found those
10:46:56     11    money orders?
10:46:56     12    A. That's correct.
10:46:57     13    Q. What is the total amount of earnest money?
10:47:00     14    A. $7,500.
10:47:04     15    Q. The next section of this chart has real estate closings.
10:47:08     16    What's a real estate closing?
10:47:09     17    A. The real estate closing is when the buyer and seller and
10:47:12     18    the title company and various others sit down at a table, I
10:47:16     19    suppose, and sign papers and actually close the deal, they
10:47:20     20    sign the deeds, and the money is transferred to effectuate the
10:47:24     21    sale of the property.
10:47:25     22    Q. You've got two listed here as well. What is the payment
10:47:30     23    source column referring to in this section?
10:47:34     24    A. The payment source refers to a document that's in the
10:47:39     25    file, that's a HUD, Housing and Urban Development 1, where it



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10:47:46       1   indicates how much is paid by the buyer or seller -- how much
10:47:50       2   money is due at the closing when the property is transferred.
10:47:57       3   Q. Source exhibit, is that where you found this information?
10:48:01       4   A. I found it on the HUD 1, yes.
10:48:04       5   Q. And is that Government Exhibit Mortgage 1 for the first
10:48:06       6   one, and Government Exhibit Mortgage 3 for the next one?
10:48:12       7   A. It should be.
10:48:13       8   Q. For the closing section, you've got                   -- or              .
10:48:18       9   Is that one of the properties that you found that the
10:48:20     10    defendant owned?
10:48:21     11    A. Yes, it is.
10:48:22     12    Q. And you also have                     , is that another property
10:48:26     13    that the defendant owned?
10:48:26     14    A. It is.
10:48:26     15    Q. What was the total amount at closings that you found?
10:48:29     16    A. $21,859.86.
10:48:33     17    Q. And then what was the total amount for initial real estate
10:48:36     18    payments that were not traced to the Chase checking account?
10:48:39     19    A. $29,359.86.
10:48:44     20    Q. Turning your attention now to Government Exhibit
10:48:49     21    Summary 3D. Did you also create this chart?
10:48:55     22    A. I did.
10:48:56     23    Q. What does this chart summarize?
10:49:00     24    A. This is a summary of payments that the lender credited to
10:49:03     25    Mr. Collins' account, as being paid on the mortgages that were



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10:49:07       1   not traced to the Chase Bank account.
10:49:12       2   Q. Looking at Government Exhibit Summary 3D, did you use to
10:49:16       3   prepare this exhibit Government Exhibit Mortgage 1 and 2?
10:49:22       4   A. I did.
10:49:23       5   Q. In reviewing Government Exhibit Mortgage 1 and 2 and
10:49:27       6   Government Exhibit Summary 3D, did you accurately summarize
10:49:31       7   the mortgages on the first and second mortgage on this
10:49:34       8   property that were not traced to the Chase checking account?
10:49:38       9   A. I believe I did.
10:49:39     10                MS. GUREN: At this time we would move into evidence
10:49:41     11    Government Exhibit Summary 3D.
10:49:43     12                THE COURT: Okay. It will be admitted, and you can
10:49:45     13    turn now, folks, to that in your binder.
10:49:48     14    BY MS. GUREN:
10:49:48     15    Q. What property are these mortgage payments for?
10:49:51     16    A.                          .
10:49:54     17    Q. In terms of how you organized this summary chart, is the
10:50:01     18    first set of columns that first mortgage?
10:50:02     19    A. Yes, there were two mortgages on the property. The column
10:50:05     20    to the left should be the payments that were credited as being
10:50:09     21    made by Mr. Collins for the first mortgage.
10:50:12     22    Q. What is the date range for these mortgage payments?
10:50:16     23    A. April 19th, 2007 to June 2006, 2009.
10:50:22     24    Q. How much in total was paid for this first mortgage that
10:50:27     25    was not traced to the Chase checking account?



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10:50:29       1   A. $34,782.54.
10:50:34       2   Q. Turning to the second column, what is the second column?
10:50:39       3   A. The second column represents payments that were credited
10:50:42       4   to Mr. Collins' account at Home Equity Mortgage on payments on
10:50:46       5   the second mortgage.
10:50:47       6   Q. What's the date range for this second mortgage?
10:50:50       7   A. April 19th, 2007 to May 22nd, 2009.
10:50:55       8   Q. What's the total amount that was paid for this second
10:50:59       9   mortgage not traced to the defendant's checking account?
10:51:01     10    A. $6,392.50.
10:51:08     11    Q. Turning your attention now to Government Exhibit
10:51:12     12    Summary 3E. What is Government Exhibit Summary 3E?
10:51:18     13    A. Summary 3E are the payments that were credited to
10:51:23     14    Mr. Collins' account by Chase Mortgage that were not traced to
10:51:28     15    the Chase Bank account.
10:51:31     16    Q. What exhibit did you use -- what bank underlying exhibit
10:51:36     17    did you use when using Government Exhibit Summary 3E?
10:51:39     18    A. Government Exhibit Mortgage 4.
10:51:41     19    Q. Have you reviewed this chart and the documents in
10:51:46     20    Government Exhibit Mortgage 4 in preparation for your
10:51:48     21    testimony?
10:51:48     22    A. I have.
10:51:49     23    Q. And based on your review, does Government Exhibit Summary
10:51:53     24    Chart 3E accurately summarize the payments for that mortgage
10:51:57     25    that were not traced to the Chase checking account?



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10:52:00       1   A. I believe it does.
10:52:01       2               MS. GUREN: At this time we would move into evidence
10:52:03       3   Government Exhibit Summary 3E.
10:52:04       4               THE COURT: Okay. It will be admitted, and you can
10:52:07       5   turn to it, folks.
10:52:09       6   BY MS. GUREN:
10:52:15       7   Q. Showing you Government Exhibit 3E, what property is this
10:52:18       8   for?
10:52:18       9   A.                          .
10:52:22     10    Q. What is the date range of payments for this mortgage that
10:52:26     11    weren't traced to the Chase checking account?
10:52:28     12    A. October 9, 2008 to May 28th, 2009.
10:52:32     13    Q. How much in total was paid?
10:52:34     14    A. $9,792.44.
10:52:52     15    Q. Turning now to Government Exhibit 3F and 3G. Did you also
10:53:02     16    prepare summary charts relating to payments for cars?
10:53:07     17    A. I did.
10:53:09     18    Q. For the first Government -- for Government
10:53:15     19    Exhibit Summary 3F, what does this chart summarize?
10:53:19     20    A. It summarizes the payments made on behalf of Mr. Collins
10:53:25     21    for auto loans that he had through Chase Bank, and it also
10:53:30     22    lists the down payment that he made on the first vehicle
10:53:33     23    listed.
10:53:34     24    Q. What -- what Government Exhibit did you use as your
10:53:38     25    underlying documents for this summary chart?



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10:53:40       1   A. Government Exhibit Auto 2.
10:53:45       2   Q. And are these all payments that were not traced to that
10:53:49       3   Chase checking account?
10:53:50       4   A. That's correct.
10:53:51       5   Q. In your review of Government Exhibit Summary 3F and your
10:53:55       6   review of the exhibit -- or the documents in Government
10:54:00       7   Exhibit Auto 2, are -- is the summary chart an accurate
10:54:04       8   summary of these payments?
10:54:06       9   A. Yes.
10:54:07     10                MS. GUREN: At this time we would move into evidence
10:54:09     11    Government Exhibit Summary 3F.
10:54:10     12                THE COURT: Okay. It will be admitted, and you can
10:54:13     13    turn to 3F now, folks.
10:54:19     14    BY MS. GUREN:
10:54:19     15    Q. Turning to this summary chart, how is this summary chart
10:54:24     16    organized, in terms of the column headings?
10:54:27     17    A. The date would be the date that the payment was credited
10:54:29     18    to Mr. Collins' account by the bank, so it's the date they
10:54:33     19    received it.
10:54:34     20    Q. What's the payment refer to?
10:54:36     21    A. That should be the amount of the payment that was credited
10:54:38     22    to Mr. Collins' account.
10:54:40     23    Q. What does Chase auto loan number refer to?
10:54:43     24    A. That's the auto loan number that the bank assigned to that
10:54:46     25    particular loan.



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10:54:47       1   Q. How many auto loans are in this summary chart?
10:54:50       2   A. Three.
10:54:51       3   Q. What's the vehicle purchase refer to?
10:54:53       4   A. That's the type of vehicle that was purchased by
10:54:56       5   Mr. Collins.
10:54:57       6   Q. What does the down payment refer to?
10:55:00       7   A. The initial purchase had one -- had a down payment in the
10:55:05       8   amount listed there.
10:55:06       9   Q. And what does the cash price value refer to?
10:55:09     10    A. That would be the value that the dealer put on the bill of
10:55:12     11    sale when the vehicle was purchased.
10:55:15     12    Q. To clarify, that's not the amount that the defendant paid
10:55:19     13    at that time?
10:55:19     14    A. Probably not, no.
10:55:21     15    Q. Going through this summary chart, you've got on the down
10:55:26     16    payment column for the second and the third vehicle, a 2006
10:55:31     17    Land Rover Range Rover, another 2006 Land Rover Range Rover,
10:55:38     18    none trade. What did you mean when you wrote, None trade?
10:55:41     19    A. That the previous vehicle was traded in and there was no
10:55:46     20    down payment.
10:55:47     21    Q. I should have asked you this first, but what's the date
10:55:50     22    range for this summary chart?
10:55:53     23    A. The date range is August 28th, 2006 to May 2008, 2009.
10:56:00     24    Q. Looking at this bottom section for the last loan, you've
10:56:04     25    got double asterisks next to the loan. What do those double



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10:56:09       1   asterisks refer to?
10:56:10       2   A. That's the third loan that the bank was [sic] identified
10:56:12       3   that all the payments were made in cash.
10:56:15       4   Q. What was the total amount of loan payments made for all
10:56:17       5   three vehicles?
10:56:19       6   A. The loan payments were $44,597.54.
10:56:24       7   Q. What was the total down payment amount?
10:56:28       8   A. $4,645.22.
10:56:31       9   Q. What was the total for this summary chart of loan payments
10:56:34     10    and down payments?
10:56:36     11    A. $49,242.76.
10:56:40     12    Q. Finally, looking at this, I notice that you've got two
10:56:44     13    colors listed next to the vehicles. You've got for the very
10:56:48     14    first car it's a 2006 Land Rover Range Rover black, and then
10:56:53     15    you've got 2006 Land Rover Range Rover silver. Where did you
10:56:58     16    get that information from?
10:56:58     17    A. For those two vehicles the dealer's bill of sale
10:57:01     18    identified the color.
10:57:02     19    Q. For the third vehicle you don't have a color listed, why
10:57:06     20    is that?
10:57:06     21    A. I didn't see one on the bill of sale.
10:57:09     22    Q. Going through Government Exhibit -- turning now to
10:57:21     23    Government Exhibit Summary 3G. What does this chart
10:57:26     24    summarize?
10:57:30     25    A. 3G is a summary of payments that were credited to



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10:57:34       1   Mr. Collins' insurance payments at American Family Insurance
10:57:41       2   that were not traced to the Chase Bank account.
10:57:44       3   Q. What exhibits did you use to prepare Government
10:57:47       4   Exhibit Summary 3G?
10:57:48       5   A. Government Exhibit Auto 1.
10:57:51       6   Q. Specifically, what types of documents and records gave you
10:57:54       7   information to put in that chart?
10:57:56       8   A. That would be a receipt from the insurance agent when the
10:58:01       9   money was paid. There were copies of money orders. And that
10:58:06     10    might have the address, but it certainly had his name on
10:58:09     11    there, and copies of money orders that were used to make
10:58:15     12    payment.
10:58:15     13    Q. Based on your review of Government Exhibit Auto 1, does
10:58:19     14    Government Exhibit Summary 3G accurately summarize the
10:58:22     15    payments for auto insurance that were not traced to the Chase
10:58:25     16    checking account?
10:58:26     17    A. Yes.
10:58:26     18                MS. GUREN: At this time we would move into evidence
10:58:28     19    Government Exhibit Summary 3G.
10:58:29     20                THE COURT: Okay. It will be admitted, and you can
10:58:33     21    turn to that one now, folks.
10:58:40     22    BY MS. GUREN:
10:58:40     23    Q. For Government Exhibit Summary 3G, what does that first
10:58:44     24    column heading money order or receipt date refer to?
10:58:49     25    A. All but one of the payments were confirmed by money order



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10:58:55       1   that had Mr. Collins as the remitter, so that would be the
10:58:56       2   date of the money order.
10:58:58       3   Q. The next column says money order or receipt number. What
10:59:00       4   does that refer to?
10:59:02       5   A. That would be the money order number as purchased from a
10:59:07       6   currency exchange or in one case that would be the number of
10:59:10       7   the receipt signed by the insurance agent.
10:59:13       8   Q. What is the column that says money order or receipt amount
10:59:17       9   refer to?
10:59:17     10    A. That's the amount of the total payment.
10:59:19     11    Q. What does the column currency exchange refer to?
10:59:21     12    A. For all but one that would be where the money order was
10:59:25     13    purchased, and for the lone cash payment, that would be an
10:59:30     14    American Family receipt, that indicated that cash was paid.
10:59:33     15    Q. And you said all but one was paid with a money order. Is
10:59:37     16    that one that was not paid by money order March 27, 2007?
10:59:41     17    A. According to the records of the insurance agent, yes.
10:59:43     18    Q. And did you indicate that by writing, Cash per American
10:59:47     19    Family Insurance receipt?
10:59:47     20    A. I did.
10:59:48     21    Q. And for the rest of the money orders, were all but one
10:59:52     22    purchased at the New Riverdale Currency Exchange?
10:59:56     23    A. They were.
10:59:57     24    Q. Was the one that wasn't purchased at the New Riverdale
11:00:01     25    Currency Exchange purchased at the New Dolton Currency



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11:00:06       1   Exchange?
11:00:06       2   A. It was.
11:00:06       3   Q. And you also have a column that says receipt name. What
11:00:10       4   does that refer to?
11:00:11       5   A. When the insurance agent wrote a receipt, they would put
11:00:14       6   the name of the person for whom the payment was credited, and
11:00:17       7   that was Ron Collins.
11:00:18       8   Q. What was the total amount of payments for insurance that
11:00:22       9   were not traced to the Chase checking account?
11:00:25     10    A. $9,118.30.
11:00:29     11                MS. GUREN: And in reviewing this you said you had
11:00:31     12    reviewed Government Exhibit Auto 1. Your Honor, permission to
11:00:36     13    show several pages from Government Exhibit Auto 1?
11:00:39     14                THE COURT: Sure, that's fine.
11:00:40     15    BY MS. GUREN:
11:00:41     16    Q. Turning to Government Exhibit Auto 1, page FIN 42 1, and I
11:00:51     17    know it's a little bit hard to see, so I'm going to try to
11:00:53     18    magnify it on the screen for you. Is this one of the pages
11:00:54     19    that you looked at?
11:00:55     20    A. Yes.
11:00:56     21    Q. And does this show a 2006 Land Rover Range Rover on this
11:01:00     22    page?
11:01:00     23    A. It does.
11:01:01     24    Q. And does it show that the operator was Ron Collins?
11:01:04     25    A. Yes.



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11:01:04       1   Q. Does it show garaged at location and that Throop address?
11:01:10       2   A. It does.
11:01:11       3   Q. Turning now to another page of Government Exhibit Auto 1,
11:01:15       4   which is FIN 42 50. Does this page show a 2004 Audi A8 in the
11:01:25       5   name of Ron Collins?
11:01:27       6   A. Yes.
11:01:28       7   Q. Finally, turning to another page of Government
11:01:33       8   Exhibit Auto 4, FIN 42 208. Does this page show a 2002 Jeep
11:01:43       9   Grand Cherokee Laredo in the name of the operator Carolyn
11:01:48     10    Collins?
11:01:49     11    A. Yes.
11:01:49     12    Q. Does it show that same mailing address at Throop?
11:01:53     13    A. Yes.
11:01:53     14    Q. Now, were there payments, insurance payments, in the name
11:01:56     15    of Carolyn Collins for this car in the records?
11:01:59     16    A. There were -- there were records that indicated Carolyn
11:02:04     17    Collins was making payments on insurance from American Family,
11:02:07     18    yes.
11:02:07     19    Q. Did you include that in your summary charts at all?
11:02:11     20    A. No.
11:02:19     21    Q. Did you also prepare two summary charts summarizing
11:02:22     22    payments to credit card companies?
11:02:23     23    A. I did.
11:02:24     24    Q. Turning first to Government Exhibit Summary 3H, what does
11:02:28     25    this chart summarize?



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11:02:30       1   A. 3H is a summary of payments that were credited to
11:02:34       2   Mr. Collins' credit card account at Chase Bank.
11:02:38       3   Q. And were these payments traced to the original, Chase 5,
11:02:44       4   checking account?
11:02:45       5   A. No. I could not find where they came out of the Chase
11:02:49       6   checking account.
11:02:49       7   Q. Were the exhibits that you used contained in Government
11:02:53       8   Exhibit Chase 1 through 4?
11:02:54       9   A. 1 through 4, yes.
11:02:56     10    Q. Specifically, what types of documents were you looking at?
11:02:59     11    A. That would be the credit card application by Mr. Collins
11:03:02     12    with the identifiers on there, and summaries of payments, and
11:03:06     13    the actual credit card statements would have been included,
11:03:11     14    the monthly statements listing the charges.
11:03:14     15    Q. Were there four different sets of credit cards -- credit
11:03:17     16    card numbers that you were looking at?
11:03:19     17    A. There were.
11:03:19     18                MS. GUREN: Permission to publish several pages from
11:03:22     19    Government Exhibit Chase 1.
11:03:24     20                THE COURT: Sure.
11:03:26     21    BY MS. GUREN:
11:03:27     22    Q. Showing you Government Exhibit Chase 1-3, and I know it's
11:03:33     23    very hard to read it, so I'm going to try to magnify it as
11:03:36     24    best I can -- is this one of the Chase statements that you
11:03:38     25    looked at?



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11:03:39       1   A. Sure looks like it.
11:03:41       2   Q. Does it show a date range of what looks like March 2007 to
11:03:47       3   April 2007?
11:03:49       4   A. It does.
11:03:50       5   Q. Going into the transaction section -- and magnifying that
11:03:55       6   for you on your screen -- do you see a payment on what looks
11:04:01       7   like March 20th, 2007 to Lee's Foreign Car Service for a
11:04:08       8   thousand dollars?
11:04:09       9   A. It's a charge to there, yes.
11:04:10     10    Q. A charge.
11:04:11     11                And do you also see a second charge on what looks
11:04:16     12    like a date in April for a thousand dollars to Lee's Foreign
11:04:19     13    Car Service?
11:04:19     14    A. I do.
11:04:21     15                MS. GUREN: Turning now -- and just for the record,
11:04:24     16    this is Chase 1, FIN 9 101.
11:04:28     17    BY MS. GUREN:
11:04:28     18    Q. Turning now to another page of Chase 1, that's FIN 9 128,
11:04:37     19    what does it look like the date range is for this one?
11:04:40     20    A. August 2008 -- no. March 2008 to April 2008.
11:04:49     21    Q. And going to the transaction information, can you see on
11:04:54     22    there that very first charge? Where is that very first charge
11:05:00     23    made to?
11:05:01     24    A. A shell station Darien, Illinois.
11:05:07     25    Q. Turning now to another page of Chase 1, FIN 9 137. What



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11:05:15       1   is the date range for this, the best you can see?
11:05:21       2   A. It looks like June 2008 to July 4th, 2008.
11:05:27       3   Q. And going to the transaction section, do you see something
11:05:39       4   that I'm highlighting on the screen right there?
11:05:42       5   A. The highlighted section is Shell Oil in Darien, Illinois.
11:05:47       6   Q. And, finally -- I'm going to use the ELMO for this one.
11:06:00       7   Finally, I'm going to show you another page from Chase Bank 1.
11:06:23       8   And I recognize that I will not have the powers of the
11:06:26       9   sanction to highlight in the same sort of way, but to the
11:06:29     10    extent you can read it, what is the date range there?
11:06:33     11                THE COURT: Okay. Well, my glasses --
11:06:37     12                THE WITNESS: This is a tough one.
11:06:39     13                (Laughter.)
11:06:39     14                THE COURT: You can zoom in on it, can't you?
11:06:43     15                MS. GUREN: Yes, I can, and I will try.
11:06:45     16                I actually asked Mr. Killian if he's got a magnifying
11:06:49     17    glass in his pocket.
11:06:51     18                THE WITNESS: I do.
11:06:51     19    BY MS. GUREN:
11:06:52     20    Q. Do you see the date range for this?
11:06:54     21    A. March 2007 -- no, February 2007 to March 2007, I think,
11:07:02     22    yes, payment due date would be April. Yes, I think that's
11:07:06     23    correct.
11:07:06     24    Q. And do you see two Shell Station charges on there?
11:07:11     25    A. Two Shell Station charges in Dolton, Illinois.



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11:07:17       1               THE COURT: Okay, folks. Let's take a morning break
11:07:20       2   for fifteen minutes, all right, and we will come back then.
11:07:20       3               (The jury leaves the courtroom.)
11:31:00       4               (Recess taken.)
11:31:24       5               (The jury enters the courtroom.)
11:31:24       6               THE COURT: Okay. Please be seated, folks, and we
11:31:27       7   will pick up where we left off.
11:31:29       8   BY MS. GUREN:
11:31:30       9   Q. Mr. Killian, before we took the break, you were talking
11:31:32     10    about Government Exhibit Summary Chart 3H, and your use of
11:31:39     11    Government Exhibit Chase 1 through 4 in creating this chart.
11:31:44     12                In reviewing Government Exhibit Chase 1 through 4 and
11:31:48     13    Government Exhibit Summary Chart 3H, does Government
11:31:53     14    Exhibit Summary 3H accurately summarize the records with
11:31:57     15    regard to credit card payments not traced to that Chase
11:32:01     16    checking account in Government Exhibits Chase 1 through 4?
11:32:05     17    A. Yes.
11:32:06     18                MS. GUREN: At this time we would move into evidence
11:32:08     19    Government Exhibit Summary 3H.
11:32:09     20                THE COURT: Okay. It will be admitted, and you can
11:32:11     21    now turn to that, folks, 3H.
11:32:18     22    BY MS. GUREN:
11:32:18     23    Q. Going through Government Exhibit 3H's organization, what
11:32:23     24    are the dates referring to?
11:32:26     25    A. The date would be the date that the payment was credited



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11:32:28       1   to Mr. Collins' credit card account at Chase Bank for that
11:32:33       2   particular card.
11:32:34       3   Q. What does the amount refer to?
11:32:36       4   A. That's the amount that was credited to Mr. Collins'
11:32:39       5   account.
11:32:40       6   Q. What is the column that says card's last four numbers
11:32:45       7   mean?
11:32:45       8   A. That's the last four numbers of Mr. Collins' credit
11:32:48       9   cards -- card.
11:32:49     10    Q. What does the source exhibit refer to?
11:32:51     11    A. That would be a group of exhibits from Chase, which would
11:32:55     12    include the actual credit card statements and the summary of
11:32:59     13    the information that the bank provided and his signature card
11:33:04     14    or application.
11:33:05     15    Q. What does Chase comment refer to?
11:33:09     16    A. For some particular payments received from Mr. Collins,
11:33:12     17    they were able to identify them as OTC cash.
11:33:16     18    Q. What is the date range for this summary chart?
11:33:20     19    A. It's May 17th, 2007 to June 1st, 2009.
11:33:28     20    Q. And going through this very first page -- and I'm just
11:33:32     21    going to magnify some of it -- is this where it shows the
11:33:36     22    different credit cards that you were summarizing?
11:33:40     23    A. Yes.
11:33:40     24    Q. When I say this, I'm referring to the Chase 2, Chase 3,
11:33:45     25    Chase 1, and Chase 4 --



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11:33:47       1   A. The exhibits, yes.
11:33:52       2   Q. You had mentioned this Chase comment where you said OTC
11:33:58       3   cash. What does OTC cash refer to?
11:34:02       4   A. That's a bank abbreviation I took to mean over the counter
11:34:06       5   cash.
11:34:08       6   Q. Going to the last page of the exhibit, which is page 2,
11:34:17       7   what is the total amount of payments that you found not traced
11:34:21       8   to that Chase checking account in Chase 5?
11:34:25       9   A. $43,720.
11:34:29     10    Q. Turning next to Government Exhibit 3 -- Summary 3I, what
11:34:34     11    does this chart summarize?
11:34:38     12    A. 3I is a summary of payments that were credited to
11:34:43     13    Mr. Collins' credit card at the Home Depot company.
11:34:47     14    Q. And are these credit card payments not traced to that
11:34:50     15    Chase checking account in Government Exhibit Chase 5?
11:34:53     16    A. Correct.
11:34:55     17    Q. What exhibits did you use to prepare Government Exhibit
11:34:59     18    Summary 3I?
11:35:00     19    A. Citibank 1.
11:35:05     20    Q. When you reviewed Government Exhibit Citibank 1 and
11:35:08     21    compared it, is Government Exhibit Summary 3I an accurate
11:35:12     22    summary of the payments made to the Home Depot credit card not
11:35:16     23    traced to the Chase checking account?
11:35:18     24    A. Yes.
11:35:18     25                MS. GUREN: At this time we would move into evidence



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11:35:20       1   Government Exhibit Summary 3I.
11:35:23       2               THE COURT: Okay. It will be admitted, and you can
11:35:23       3   turn to that one now.
11:35:30       4   BY MS. GUREN:
11:35:30       5   Q. For Government Exhibit 3I, Summary 3I, what is the date
11:35:35       6   range?
11:35:36       7   A. The date range is December 28th, 2006 to September 2nd,
11:35:43       8   2008.
11:35:45       9   Q. You've got a column entitled payment, what does that refer
11:35:47     10    to?
11:35:48     11    A. That's the amount of payment that was credited to
11:35:50     12    Mr. Collins' account at Home Depot.
11:35:55     13    Q. What does the column credit card refer to?
11:35:58     14    A. That's the actual credit card, the Home Depot credit card
11:36:02     15    the payments were processed by Citibank.
11:36:05     16    Q. For this summary chart, are all the payments referring to
11:36:09     17    that Home Depot card payment?
11:36:11     18    A. They are.
11:36:11     19    Q. What is the total amount of payments for that Home Depot
11:36:14     20    credit card not traced to the Government Exhibit Chase 5?
11:36:20     21    A. $13,449.12.
11:36:23     22    Q. Did you also summarize records from Western Union?
11:36:27     23    A. I did.
11:36:28     24    Q. And is that in exhibit -- Government Exhibit Money
11:36:34     25    Order 3, the documents from Western Union?



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11:36:36       1   A. Government Exhibit Money Order 3, correct.
11:36:41       2   Q. Did you summarize those Western Union documents in Summary
11:36:46       3   Chart 3J?
11:36:46       4   A. I did.
11:36:47       5   Q. What specifically did those documents contain that you
11:36:50       6   summarized?
11:36:51       7   A. The documents contained information that a Ron Collins was
11:36:56       8   wiring money to recipients in Georgia.
11:37:01       9   Q. In comparing the records in Government Exhibit Money
11:37:03     10    Order 3 to the Summary Chart 3J, is Summary Chart 3J an
11:37:09     11    accurate summary of money order payments from Western Union
11:37:12     12    not traced to that Chase checking account?
11:37:15     13    A. It is.
11:37:17     14                MS. GUREN: Okay. At this time we would like to
11:37:18     15    admit Government Exhibit Summary Chart 3J.
11:37:18     16                THE COURT: Okay. It will be admitted, and you can
11:37:20     17    look at that one now, folks.
11:37:24     18    BY MS. GUREN:
11:37:25     19    Q. For Government Exhibit 3J, were these the two Western
11:37:29     20    Union transfers?
11:37:29     21    A. They are.
11:37:31     22    Q. Where was the -- where did you get the information for the
11:37:35     23    recipient and recipient location?
11:37:38     24    A. The information provided by Western Union included who the
11:37:44     25    recipient was.



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11:37:45       1   Q. And did it -- and in this case was the recipient locations
11:37:48       2   both in Georgia?
11:37:50       3   A. They were.
11:37:50       4   Q. Where did you get the information about who the sender
11:37:53       5   was?
11:37:54       6   A. The sender is listed on the information provided by
11:37:57       7   Western Union as Ron Collins.
11:38:00       8   Q. What was the total amount of Western Union money transfers
11:38:03       9   not traced to that Chase checking account?
11:38:06     10    A. $1,250.
11:38:09     11    Q. After you did these summaries that we've gone through, did
11:38:15     12    you prepare Government Exhibit Summary 3K?
11:38:22     13    A. I did.
11:38:23     14    Q. What exhibits did you use to prepare Government
11:38:28     15    Exhibit 3K?
11:38:28     16    A. Summary 3A through 3J.
11:38:31     17    Q. What is Government Exhibit Summary 3K summarizing?
11:38:35     18    A. It summarizes what I consider the total uses of cash by
11:38:41     19    Mr. Collins during the period described in the top of the
11:38:44     20    exhibit.
11:38:45     21    Q. Based on the underlying exhibits and the summaries that
11:38:48     22    you used, does summary chart -- does Government
11:38:52     23    Exhibit Summary 3K accurately summarize these records of cash
11:38:56     24    usage?
11:38:57     25    A. I believe it does.



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11:38:58       1               MS. GUREN: At this time we would move Government
11:39:01       2   Exhibit Summary 3K into evidence.
11:39:03       3               THE COURT: Okay. It will be admitted, and you can
11:39:04       4   look at it now, folks.
11:39:08       5   BY MS. GUREN:
11:39:09       6   Q. Government Exhibit 3K, what is the date range of this
11:39:14       7   summary chart?
11:39:15       8   A. It starts from March 14th, 2006 to June 1st, 2009.
11:39:24       9   Q. You said -- at the top it's entitled summary of cash
11:39:28     10    deposits and payments not drawn from Government Exhibit
11:39:31     11    Chase 5. What does that refer to?
11:39:32     12    A. That means that these payments could not -- I did not
11:39:35     13    trace them to the Chase checking account.
11:39:37     14    Q. And turning -- just to clarify that first line, where it
11:39:42     15    says Chase checking account with the last four digits 8993 net
11:39:47     16    cash deposits. What does that mean?
11:39:49     17    A. That's the net cash that Mr. Collins deposited into that
11:39:53     18    checking account.
11:39:54     19    Q. And was that that $37,000 -- $37,105 that we saw at the
11:39:58     20    end as net cash deposits from Summary 3K?
11:40:02     21    A. Correct, it was the direct use of cash.
11:40:05     22    Q. And the next line where you have real estate purchase
11:40:09     23    initial payments, where did that come from?
11:40:12     24    A. It came from the records provided by the mortgage company.
11:40:15     25    Q. And so for each of these lines are these taken from those



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11:40:18       1   total amounts on the summary charts that we've just gone
11:40:21       2   through for Summary 3A, 3B, 3C, 3D, 3E, 3F, 3G, 3H, 3I, and
11:40:30       3   3J?
11:40:31       4   A. They are.
11:40:32       5   Q. What is the total amount of cash that you found that was
11:40:34       6   used during this time period not traced to that Chase checking
11:40:38       7   account?
11:40:38       8   A. $234,213.08.
11:40:45       9   Q. What were you trying to summarize?
11:40:48     10    A. I was trying to summarize Mr. Collins' use of cash during
11:40:53     11    the period that these schedules cover.
11:40:55     12    Q. And were you able to identify a source for this
11:40:59     13    $234,213.08?
11:41:03     14    A. No.
11:41:04     15                MS. GUREN: One moment, your Honor?
11:41:12     16                THE COURT: Okay.
11:41:12     17                MS. GUREN: No further questions.
11:41:13     18                THE COURT: Okay. Mr. Rubino, any cross?
11:41:16     19                MR. RUBINO: Yes, your Honor.
11:41:18     20                                         - - -
11:41:18     21                        BRUCE KILLIAN, CROSS-EXAMINATION
11:41:18     22    BY MR. RUBINO:
11:41:29     23    Q. Good morning, sir.
11:41:29     24    A. Hello.
11:41:31     25    Q. Mr. Killian, is the United States Attorney's Office your



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11:41:35       1   only client?
11:41:37       2   A. I have a small, small tax business, so I have a couple of
11:41:42       3   tax prep clients, but basically it's by far the biggest one.
11:41:48       4   Q. What percentage of your income does the U.S. Attorney's
11:41:52       5   Office furnish you?
11:41:53       6   A. 99 percent.
11:41:56       7   Q. So basically you're retired from the Government and you
11:41:59       8   went right back working for them again?
11:42:01       9   A. Basically, I did. There was a two-month lull, but, yes.
11:42:10     10    Q. Looking at these various charts, if I may turn your
11:42:12     11    attention to 3A, and 3A, in summary, covers almost a
11:42:22     12    three-year period; am I correct?
11:42:23     13    A. I believe so, yes.
11:42:24     14    Q. And after you adjusted it, the net cash deposits in three
11:42:30     15    years was $37,000, correct?
11:42:34     16    A. Approximately, yes.
11:42:40     17    Q. Now, referring you to chart 3C, under real estate closings
11:42:53     18    we have an amount of $1,364.92 dated 12/6/06, correct?
11:43:00     19    A. Correct.
11:43:01     20    Q. Now, that was money that was used to close a property at
11:43:07     21    16003 Wabash, correct?
11:43:10     22    A. Correct.
11:43:11     23    Q. And was that $1300 and change, was that cash or check?
11:43:16     24    A. I believe it was a $2,000 money order.
11:43:21     25    Q. Why do you believe that?



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11:43:22       1   A. Although it's not in evidence, I saw a copy of it.
11:43:25       2   Q. Okay. Are you positive -- well, how do we have $1300 out
11:43:29       3   of a 2,000 [sic] money order?
11:43:32       4   A. If you look at the bank deposits, the difference was
11:43:36       5   deposited into the checking account, the 600-and-some-odd
11:43:41       6   dollars.
11:43:42       7   Q. I see.
11:43:43       8               Now, what about the 20,494, was that cash or check?
11:43:48       9   A. I don't know.
11:43:50     10    Q. Now, you're familiar, as a former IRS agent, with the form
11:43:54     11    8300; are you not?
11:43:56     12    A. I am.
11:43:56     13    Q. And tell the ladies and gentlemen of the jury what an IRS
11:43:58     14    8300 form is, please.
11:44:01     15    A. An 8300 is a form where someone, who is in business,
11:44:05     16    receives $10,000 in cash or equivalents in a transaction or a
11:44:11     17    series of transactions, should file the form 8300 to notify
11:44:16     18    the FINCEN, I believe, that this transaction occurred.
11:44:21     19    Q. Now, if Mr. Collins walked into a real estate closing and
11:44:25     20    opened a brown paper bag and took $20,494 worth in dollar
11:44:33     21    bills and threw it on the table, wouldn't the real estate
11:44:35     22    company be required to file an 8300 form on this transaction?
11:44:40     23    A. If all the money was paid in cash, I believe that maybe
11:44:43     24    they should have, yes.
11:44:44     25    Q. Not should have. Aren't they required to?



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11:44:47       1   A. I think it's -- I think the requirement could be on either
11:44:52       2   the title company or the real estate company, the mortgagor,
11:44:58       3   or some other person at the closing, perhaps the attorney.
11:45:03       4   Q. Okay. So --
11:45:03       5   A. I think either one of those --
11:45:05       6   Q. Somebody had that responsibility, if that happened,
11:45:08       7   correct?
11:45:09       8   A. Cash, yes.
11:45:10       9   Q. And were you shown any 8300 form for cash for that
11:45:14     10    transaction?
11:45:14     11    A. I was not.
11:45:19     12    Q. Looking at 3D, sir, these are mortgage payments that were
11:45:25     13    made, correct?
11:45:28     14    A. Yes.
11:45:28     15    Q. Mortgage 1, Mortgage 2.
11:45:32     16                Now, it says: These were payments that were traced
11:45:39     17    to -- payments other than those -- let me rephrase that --
11:45:44     18    payments other than those traced to Chase 5.
11:45:47     19                Chase 5 is Mr. Collins' account that ends in 8993,
11:45:52     20    correct?
11:45:52     21    A. Correct.
11:45:53     22    Q. Okay. So these didn't come from that account?
11:45:57     23    A. I believe that's true.
11:45:58     24    Q. Could they have come from some other account?
11:46:00     25    A. They could.



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11:46:01       1   Q. So you're not positive, and you can't tell these jurors,
11:46:05       2   that all of this money here under Mortgage 1 was cash, can
11:46:09       3   you?
11:46:09       4   A. I don't know that it was cash, no.
11:46:11       5   Q. We don't know if a penny of it was cash, do we?
11:46:14       6   A. For that particular one, no.
11:46:16       7   Q. And Mortgage 2, we don't know if a penny of that was cash,
11:46:22       8   do we?
11:46:23       9   A. No.
11:46:23     10    Q. So it very well could have been from another checking
11:46:26     11    account or savings account, could it not?
11:46:29     12    A. If there was one, yes, it could have.
11:46:32     13    Q. Now, we move to E, 3E, sir. 3E are payments made for
11:46:43     14    what?
11:46:47     15    A. For the mortgage on the property --
11:46:50     16    Q. -- property?
11:46:50     17    A. -- at 5421 Calumet, I believe.
11:46:53     18    Q. And can you tell these ladies and gentlemen of the jury
11:46:58     19    with certainty that every one of these payments were made in
11:47:02     20    cash?
11:47:03     21    A. I believe they were made in cash, based on bank records.
11:47:07     22    I think there was some records of transmittal that said that
11:47:11     23    they were paid in cash.
11:47:12     24    Q. Okay. Can you show me the record for the first one,
11:47:15     25    1342.44 and show me it was paid in cash?



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11:47:19       1   A. There is a letter -- I don't have access to it -- but
11:47:24       2   there is.
11:47:24       3   Q. So you don't have that with you today to show to us?
11:47:27       4   A. It's in evidence.
11:47:30       5   Q. Now, let me just bring you down to the fourth one,
11:47:37       6   2/27/09. That was a $1450 payment, correct?
11:47:41       7   A. Correct.
11:47:42       8   Q. And you say that payment was not associated with the
11:47:47       9   account ending in 8993, correct?
11:47:50     10    A. I believe that's true.
11:47:53     11    Q. Would you take a look at Summary B and go to the page
11:48:03     12    where 2/27/09 is? There's a withdrawal three from the bottom
11:48:09     13    on 2/27/09.
11:48:16     14    A. Correct.
11:48:17     15    Q. Do you see it?
11:48:18     16    A. Yes.
11:48:18     17    Q. Now, on 2/27/09, according to this, Mr. Collins withdrew
11:48:25     18    $1450 from his bank account, correct?
11:48:29     19    A. Correct.
11:48:30     20    Q. Now, also going to 3E on 2/27/09, he paid $1450 in cash on
11:48:42     21    that payment, did he not?
11:48:44     22    A. That's correct.
11:48:46     23    Q. So what he did was he took the money out in cash and he
11:48:49     24    went and paid it, right?
11:48:50     25    A. Probably that's why I subtracted it at the end of the



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11:48:53       1   summary of the cash deposits.
11:48:56       2   Q. So he basically took money out of one account, took it out
11:49:00       3   of there in cash, and paid a bill in cash, right? That's what
11:49:03       4   he did, didn't he?
11:49:04       5   A. Yes.
11:49:06       6   Q. Now, looking at 3F, there's three vehicles there; am I
11:49:15       7   correct, sir?
11:49:16       8   A. I'm not there yet.
11:49:17       9   Q. I'm sorry.
11:49:19     10    A. Three ...
11:49:21     11    Q. F.
11:49:22     12    A. F. Yes.
11:49:24     13    Q. Now, he didn't simultaneously own all three vehicles,
11:49:28     14    according to this, did he?
11:49:29     15    A. Correct. I believe he traded them.
11:49:31     16    Q. Bought the first one and traded on the second, and traded
11:49:34     17    the second on the third; am I correct?
11:49:37     18    A. I believe that's correct.
11:49:39     19    Q. Referring you to 3H. 3H is a summary of payments to his
11:49:49     20    credit card, correct?
11:49:55     21    A. 3H, yes.
11:49:57     22    Q. And the bank indicated in their comments that ten of them
11:50:03     23    were paid in cash, correct?
11:50:05     24    A. I didn't count them, but ...
11:50:07     25    Q. Well, please do.



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11:50:08       1   A. I believe you're right.
11:50:15       2               Yes, ten.
11:50:16       3   Q. Okay. So the bank indicated that ten of these were paid
11:50:18       4   in cash. The rest were paid how?
11:50:28       5   A. I don't know.
11:50:28       6   Q. Well, you don't know as a fact they were paid in cash, do
11:50:32       7   you?
11:50:32       8   A. No. I just know they didn't come from the Chase checking
11:50:35       9   account.
11:50:35     10    Q. Which means they could have come from some other checking
11:50:38     11    account, couldn't they?
11:50:39     12    A. If there were one, yes.
11:50:41     13    Q. Or some other savings account?
11:50:44     14    A. If there were one, yes.
11:50:45     15    Q. So in no way, shape, or form can you tell us that all of
11:50:48     16    these payments were made in cash, can you?
11:50:51     17    A. That's correct.
11:50:53     18    Q. Referring you to 3I. 3I is the Home Depot credit card?
11:51:02     19    A. Correct.
11:51:02     20    Q. Is there any indication on 3I that any of these payments
11:51:06     21    were made in cash?
11:51:08     22    A. No.
11:51:09     23    Q. Could any -- could all of these payments have been made
11:51:12     24    from another checking account?
11:51:14     25    A. If there were one, yes, they could have.



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11:51:16       1   Q. And they could have been made from another savings
11:51:19       2   account?
11:51:19       3   A. If there were one, yes.
11:51:20       4   Q. There is nothing on this chart to tell us that they were
11:51:25       5   paid in cash, is there?
11:51:27       6   A. Correct.
11:51:27       7   Q. Do you have anything to prove they were paid in cash?
11:51:32       8   A. No.
11:51:32       9   Q. Then it is just simply your opinion they were paid in
11:51:36     10    cash, correct?
11:51:38     11    A. It was my analysis that the money didn't come from the
11:51:42     12    Chase checking account. So it could have been paid in cash,
11:51:46     13    money order, certified check. It could have been paid in a
11:51:49     14    lot of ways.
11:51:50     15    Q. Right.
11:51:50     16                It could have been paid in numerous ways, but you
11:51:53     17    can't unequivocally tell us that every one of these payments
11:51:57     18    were done in cash, can you?
11:51:59     19    A. That's correct.
11:52:07     20    Q. Now, J. J are two money orders, $1200, 1250 [sic]?
11:52:14     21    A. They are money transfers, sir. They are not money orders.
11:52:18     22    Q. Oh, I'm sorry. My mistake.
11:52:19     23                They are Western Union wire transfers?
11:52:21     24    A. Correct.
11:52:22     25    Q. Okay. And how were these paid for?



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11:52:26       1   A. I believe you need to pay those in cash from a currency
11:52:30       2   exchange.
11:52:30       3   Q. They don't take credit cards?
11:52:32       4   A. I don't know.
11:52:35       5   Q. You're not positive you have to pay in cash, are you?
11:52:38       6   A. I'm not positive, no.
11:52:46       7   Q. And K -- now in K you've just testified that you added
11:52:53       8   these up. They add up to $234 -- or excuse me -- $234,213.08,
11:53:04       9   correct?
11:53:04     10    A. Correct.
11:53:05     11    Q. And you told us that all of this money was cash; am I
11:53:11     12    correct?
11:53:12     13    A. I believe I said I was trying to trace the cash.
11:53:16     14    Q. Okay. But you're not telling us that all of this $234,213
11:53:22     15    that was spent was cash, are you?
11:53:24     16    A. I was trying to trace the money that was spent not traced
11:53:28     17    to the Chase checking account, that's correct.
11:53:30     18    Q. That's not my question.
11:53:31     19                My question is simply: Are you telling us that the
11:53:34     20    $234,213 was all cash? That's my question.
11:53:38     21    A. No.
11:53:41     22    Q. A great portion of this could easily have come from
11:53:45     23    another bank account, be it a checking account or savings
11:53:48     24    account, could it not?
11:53:49     25    A. If there were one, it could.



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11:53:51       1   Q. And it could come from other sources not necessarily cash,
11:53:54       2   correct?
11:53:55       3   A. It could.
11:53:56       4   Q. So you cannot tell us today that you are positive that
11:54:00       5   every penny in this summary, 3K, was cash, can you?
11:54:05       6   A. Correct.
11:54:08       7               MR. RUBINO: I have nothing further. Thank you.
11:54:10       8   Strike it. One question.
11:54:13       9   BY MR. RUBINO:
11:54:14     10    Q. Were you aware that during the period of '06, 2006, that
11:54:18     11    Mr. Collins owned a half interest in a sports bar in Atlanta,
11:54:24     12    Georgia?
11:54:24     13    A. A sports bar in Atlanta, Georgia?
11:54:26     14    Q. Were you told of that?
11:54:28     15    A. I don't recall seeing that in evidence.
11:54:33     16                MR. RUBINO: Okay. I have nothing further.
11:54:33     17                                         - - -
11:54:33     18                      BRUCE KILLIAN, REDIRECT EXAMINATION
11:54:33     19    BY MS. GUREN:
11:54:43     20    Q. I just want to give you a chance, because you started to
11:54:46     21    try to say it.
11:54:47     22                Were you trying to say that all of these things were
11:54:50     23    cash?
11:54:51     24    A. No. I just wanted to show what he spent that wasn't
11:54:55     25    attributed to the Chase checking account.



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11:54:57       1   Q. And, in fact, looking at Government Exhibit Summary 3K is
11:55:00       2   the title of that, Summary of cash deposits and payments?
11:55:04       3   A. Yes.
11:55:05       4   Q. And payments refers to other sources like you were saying,
11:55:08       5   like money orders and cashier checks and ...
11:55:11       6   A. Correct.
11:55:12       7   Q. And when you were talking about whether or not there
11:55:14       8   were -- you started to say if there were other accounts. Did
11:55:17       9   you look at Government Exhibit Chase 4?
11:55:24     10    A. Chase 4, I don't remember --
11:55:26     11    Q. Was that -- oh, I'm sorry. Chase 4 was the credit card.
11:55:29     12                Were there other credit -- were there other accounts
11:55:32     13    that you reviewed, besides for the one that you summarized in
11:55:37     14    Government Exhibit 3A and 3B?
11:55:39     15    A. No, there weren't.
11:55:40     16    Q. Did --
11:55:41     17    A. Oh, no, there were two other accounts. There was the
11:55:43     18    Hilarious Entertainment and the Double R Construction or
11:55:48     19    Contractors.
11:55:49     20    Q. And did you also not -- did you also look at that savings
11:55:52     21    account as well?
11:55:52     22    A. The savings account, yes.
11:55:54     23    Q. And when you were looking through this evidence, did you
11:55:57     24    come across a credit report for Mr. Collins?
11:55:59     25    A. I did.



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11:56:00       1   Q. Did that show any other accounts that you could find?
11:56:04       2   A. I don't recall seeing any other bank accounts, no.
11:56:08       3   Q. In doing your financial analysis of Mr. Collins, were you
11:56:11       4   able to find any other accounts, other than the ones that you
11:56:14       5   have reviewed?
11:56:15       6   A. I did not.
11:56:24       7   Q. You started to also get cut off when you were talking
11:56:27       8   about the February 27th payment. You started to talk about
11:56:32       9   how you had accounted for that in Government Exhibit
11:56:35     10    Summary 3A?
11:56:37     11    A. Yes. I subtracted it from the cash deposits.
11:56:42     12    Q. So that, for example, if there had been the payment that
11:56:44     13    was withdrawn from Government Exhibit Summary 3B, that's
11:56:47     14    actually not part of that final amount of $234,000?
11:56:52     15    A. That's correct.
11:57:06     16                MS. GUREN: One moment?
11:57:28     17    BY MS. GUREN:
11:57:29     18    Q. Mr. Killian, did you also review tax information in this
11:57:33     19    case?
11:57:33     20    A. There was tax information available in the file.
11:57:35     21    Q. As a former IRS agent, are you able to understand that tax
11:57:39     22    information?
11:57:39     23    A. I believe I am.
11:57:41     24    Q. And looking at the tax information was it for the years --
11:57:43     25                MR. RUBINO: Excuse me. Excuse me. I think we're



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11:57:45       1   way outside the scope of cross.
11:57:47       2               THE COURT: Overruled, based upon the questions that
11:57:50       3   you have regarding his knowledge of various tax forms.
11:57:55       4   BY MS. GUREN:
11:57:55       5   Q. Did you review tax records from 1998 -- or tax information
11:58:00       6   from 1998 through 2008 in this case?
11:58:03       7   A. The information that the IRS provided, yes.
11:58:06       8   Q. Did it show a record from the IRS of any capital gains
11:58:13       9   information?
11:58:13     10    A. Capital gains, no.
11:58:15     11    Q. And what does capital gains usually refer to?
11:58:18     12    A. In generalities, a gain from the sale of an asset, like
11:58:22     13    stock or a home or real estate or land, that's --
11:58:25     14    Q. Would it also be an investment?
11:58:27     15    A. An investment, like stock in a company, yes.
11:58:31     16    Q. Did it also -- what, if anything, did the IRS tax records
11:58:37     17    show about sources of income?
11:58:41     18    A. Sources of income for Mr. Collins, as I recall --
11:58:46     19    Q. And I'm sorry. Let me just limit you to the period of
11:58:49     20    what we're talking about, 2005 to 2008.
11:58:51     21    A. I do not recall that he received any income per the IRS
11:58:55     22    records.
11:58:56     23    Q. And when we're talking about these IRS records, are these
11:58:59     24    different from tax returns where it's self-reported by the
11:59:03     25    individual?



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11:59:04       1   A. I'm basically referring to what at the IRS they call an
11:59:08       2   ERP (phonetic).
11:59:08       3   Q. What's an ERP?
11:59:09       4   A. An ERP would be a summary of documents filed for a
11:59:14       5   particular taxpayer, based -- that would include W-2s, 1099s,
11:59:20       6   1098s.
11:59:25       7   Q. And can these things be supplied by the IRS by people,
11:59:29       8   other than the individual taxpayer?
11:59:30       9   A. Usually the information is supplied by the payor. In
11:59:34     10    other words, your wages are reported on a summary W-2 given in
11:59:39     11    [sic] the IRS, 1099s, things of that nature.
11:59:42     12                MS. GUREN: One moment, your Honor?
11:59:47     13                No further questions.
11:59:47     14                                         - - -
11:59:47     15                      BRUCE KILLIAN, RECROSS-EXAMINATION
11:59:47     16    BY MR. RUBINO:
11:59:53     17    Q. Sir, you only looked at the bank accounts that were
11:59:56     18    provided to you by the U.S. Attorney's Office, correct?
11:59:59     19    A. The bank accounts that I mentioned today, yes.
12:00:03     20    Q. Okay. And you told us you couldn't find other accounts?
12:00:08     21    A. I did not find other accounts.
12:00:10     22    Q. Now, is that your contention that since you couldn't find
12:00:13     23    other accounts that none exist?
12:00:15     24    A. It's possible that some exist.
12:00:17     25    Q. And you were asked about tax records. In your experience



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12:00:25       1   as an IRS agent, have you ever come upon people that were
12:00:30       2   paid, quote, off the books, unquote?
12:00:32       3   A. Yes.
12:00:32       4   Q. What's that term mean?
12:00:35       5   A. To me, it means that people that were paid in cash and
12:00:41       6   maybe the employer, if it was wages, did not record it in
12:00:45       7   their records because it was cash.
12:00:47       8   Q. It's commonly done, isn't it?
12:00:50       9   A. Probably more than the IRS would like, yes.
12:00:53     10                MR. RUBINO: Thank you. I have nothing further.
12:00:53     11                                         - - -
12:00:53     12                      BRUCE KILLIAN, REDIRECT EXAMINATION
12:01:05     13    BY MS. GUREN:
12:01:05     14    Q. As part of your financial analysis of the defendant and as
12:01:08     15    part of just your duties when you're working with the
12:01:11     16    U.S. Attorney's Office, if you need to obtain records that you
12:01:14     17    would think would be necessary for your financial analysis,
12:01:17     18    what do you usually do?
12:01:18     19    A. I would talk to the attorney or attorneys in charge and
12:01:22     20    see if we could get those records.
12:01:24     21                MS. GUREN: No further questions.
12:01:27     22                THE COURT: Anything else?
12:01:28     23                MR. RUBINO: No, ma'am.
12:01:28     24                THE COURT: Okay. You can step down now and be
12:01:31     25    excused.



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12:01:33       1               (Witness leaves the stand.)
12:01:33       2               THE COURT: And you can call your next witness.
12:01:35       3               MS. GUREN: Your Honor, we've got one more
12:01:36       4   stipulation to read.
12:01:37       5               THE COURT: Okay.
12:01:38       6               MS. GUREN: It is -- oh, stipulation number 7.
12:01:41       7               It is hereby stipulated and agreed by the United
12:01:43       8   States of America by its attorney, Patrick J. Fitzgerald, the
12:01:47       9   United States Attorney for the Northern District of Illinois,
12:01:50     10    and the defendant, individually and by his attorneys, that the
12:01:54     11    following facts are true:
12:01:55     12                If called as a witness, a witness for the Internal
12:02:00     13    Revenue Service, IRS, would testify that he or she has made a
12:02:03     14    diligent search for United States individual income tax
12:02:06     15    returns pertaining to Ron C. Collins at
12:02:13     16             in Calumet Park, Illinois with a Social Security number
12:02:15     17    ending in 7258 and that no such records for the tax years 1998
12:02:20     18    through December 31st, 2007 exist.
12:02:23     19                If called as a witness, a witness for the IRS would
12:02:26     20    further testify that IRS records for the tax years 1998
12:02:29     21    through December 31st, 2007 show that individual Ron C.
12:02:36     22    Collins at                                     in Calumet Park, Illinois
12:02:42     23    with a Social Security number ending in 7258 had no wages or
12:02:45     24    capital gains income reported.
12:02:46     25                If called as a witness, a witness for the IRS would



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12:02:50       1   further testify that he or she has knowledge of relevant
12:02:53       2   recordkeeping systems at the IRS and that the records in
12:02:57       3   Government Exhibit Tax 1 was made or received and maintained
12:03:00       4   in the regular course of the IRS' conducted activity around
12:03:03       5   the time of the transactions reflected in the records and that
12:03:06       6   it is the regular practice of the IRS to make such records.
12:03:09       7   The parties agree that the Government Exhibit Tax 1 may be
12:03:13       8   received into evidence without the need of any other
12:03:16       9   evidentiary foundation.
12:03:17     10                So stipulated?
12:03:18     11                MR. RUBINO: Yes.
12:03:19     12                MS. GUREN: At this time we would move into evidence
12:03:21     13    Government Exhibit Tax 1.
12:03:22     14                THE COURT: Okay. It will be admitted.
12:03:26     15                MS. RODNEY: Your Honor, the Government calls
12:03:28     16    Lieutenant Robert Coleman.
12:03:31     17                THE COURT: Okay.
12:03:48     18                (Witness takes the stand.)
12:03:49     19                THE COURT: Please raise your right hand.
12:03:54     20                (The witness was sworn.)
12:03:54     21                THE COURT: Okay. Have a seat, and you may begin
12:03:57     22    when you're ready, Ms. Rodney.
12:03:57     23                                         - - -
12:03:57     24                      ROBERT COLEMAN, DIRECT EXAMINATION
12:03:57     25    BY MS. RODNEY:



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12:04:01       1   Q. Lieutenant Coleman, would you please state and spell your
12:04:03       2   last name for the record?
12:04:03       3   A. Robert Coleman, C-o-l-e-m-a-n.
12:04:09       4   Q. Are you currently employed?
12:04:10       5   A. Yes.
12:04:10       6   Q. And where do you work?
12:04:11       7   A. I'm a lieutenant with the Will County Sheriff's Office.
12:04:14       8   Q. What is your current assignment?
12:04:15       9   A. I'm assigned as a task force officer with the Drug
12:04:19     10    Enforcement Administration, based out of Chicago.
12:04:21     11    Q. And how long have you worked as a task force officer for
12:04:24     12    DEA?
12:04:25     13    A. Since April of 1995.
12:04:28     14    Q. I'm going to ask you more about that role in a moment, but
12:04:31     15    first I want to ask you about your background.
12:04:33     16                How long have you worked in law enforcement?
12:04:35     17    A. Since 1980.
12:04:38     18    Q. And what was your first position in law enforcement?
12:04:40     19    A. I was hired as a police officer by the University Park
12:04:43     20    Police Department in 1980.
12:04:45     21    Q. And what training did you have to become a police officer
12:04:48     22    with University Park?
12:04:49     23    A. Initially I attended the police training institute at the
12:04:52     24    University of Illinois in Champaign.
12:04:55     25    Q. And can you describe your duties and responsibilities as a



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12:04:58       1   police officer?
12:04:59       2   A. Initially my duties were I was in a uniform in a squad car
12:05:03       3   patrolling areas of the village.
12:05:05       4   Q. Did you have an opportunity to work on drug cases during
12:05:08       5   that time?
12:05:09       6   A. Occasionally.
12:05:10       7   Q. About how many drug cases did you work?
12:05:12       8   A. Perhaps a few dozen.
12:05:14       9   Q. And how many years were you with University Park?
12:05:17     10    A. About five years.
12:05:19     11    Q. Why did you leave University Park?
12:05:21     12    A. I was hired by Handy Andy Corporation as their chief
12:05:25     13    corporate investigator. Handy Andy is a home improvement
12:05:29     14    chain much like Menards or Home Depot.
12:05:31     15    Q. And how long did you work for Handy Andy?
12:05:35     16    A. About three years.
12:05:35     17    Q. And what did you do after then?
12:05:36     18    A. I was hired by the Will County Sheriff's Office as a
12:05:39     19    sheriff's deputy.
12:05:41     20    Q. And where is Will County in relationship to Cook County?
12:05:42     21    A. Will County is southwest of Chicago. It's one of the
12:05:45     22    collar counties surrounding Chicago.
12:05:47     23    Q. And what was your first job with Will County?
12:05:49     24    A. I was initially assigned to the jail division for the
12:05:51     25    first eight months.



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12:05:54       1   Q. All right. Did you have any other responsibilities after
12:05:56       2   that?
12:05:57       3   A. I rotated out after eight months into the patrol division.
12:06:01       4   Q. And how long did you work in patrol?
12:06:03       5   A. Until about 1990.
12:06:05       6   Q. And what did you do in patrol?
12:06:07       7   A. In patrol, I was in a uniform in a squad car patrolling
12:06:10       8   different areas of Will County.
12:06:12       9   Q. During your work in patrol, did you receive any training
12:06:15     10    in narcotics investigations?
12:06:17     11    A. Some, yes.
12:06:18     12    Q. And can you describe that training?
12:06:20     13    A. I received training in both drug identification and drug
12:06:24     14    trends, concealed compartment training, and some other type of
12:06:28     15    training as well.
12:06:29     16    Q. Did you have any experience with drug crimes -- excuse
12:06:34     17    me -- with drug crimes during your time in patrol?
12:06:37     18    A. Just occasionally making a traffic stop on individuals
12:06:40     19    that investigation would later uncover some contraband,
12:06:43     20    arrests of that nature, in addition to assisting in search
12:06:47     21    warrants for the drug units from time to time.
12:06:49     22    Q. What was your next position at Will County?
12:06:51     23    A. I was assigned to a state police drug task force in 1990.
12:06:56     24    Q. And what is the name of that task force?
12:06:59     25    A. It was called MANS, Metropolitan Area Narcotics Squad.



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12:07:05       1   Q. And what is MANS?
12:07:06       2   A. MANS is a MEG unit, Metropolitan Enforcement Group. There
12:07:08       3   are about a dozen MEG units throughout the State of Illinois.
12:07:12       4   Each MEG unit is responsible for conducting drug
12:07:13       5   investigations in a specific geographic area. The MANS unit
12:07:17       6   was responsible for Will and Grundy Counties.
12:07:20       7   Q. And is that where you did your work?
12:07:22       8   A. Yes.
12:07:22       9   Q. And what was your title within MANS?
12:07:25     10    A. All police officers assigned to the MEG units are
12:07:28     11    cross-designated as state police inspectors.
12:07:32     12    Q. And can you describe your day-to-day duties as a state
12:07:35     13    police inspector?
12:07:36     14    A. We would conduct drug investigations. Sometimes we would
12:07:39     15    do surveillance on the streets on targets. Sometimes we would
12:07:42     16    make undercover drug buys. Sometimes we would execute search
12:07:45     17    warrants. Sometimes we would conduct electronic surveillance.
12:07:48     18    Q. Approximately how many drug investigations did you work on
12:07:51     19    when you were with MANS?
12:07:53     20    A. Over a hundred.
12:07:54     21    Q. And while you were with MANS, did you receive any criminal
12:07:58     22    training with regards to narcotics investigations?
12:08:01     23    A. Yes.
12:08:01     24    Q. And what training -- or can you describe that training?
12:08:04     25    A. I attended DEA's two-week drug school. I attended DEA's



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12:08:09       1   narcotic officer survival school. I attended classes on
12:08:12       2   concealed compartment training, clandestine laboratory
12:08:17       3   training, drug trends, drug identification, financial crimes
12:08:20       4   investigation, and asset forfeiture investigation.
12:08:25       5   Q. While you were with MANS, did you serve as an undercover
12:08:28       6   officer?
12:08:28       7   A. Yes.
12:08:28       8   Q. And what is an undercover officer?
12:08:30       9   A. An undercover officer is a police officer who serves in an
12:08:34     10    undercover capacity portraying some type of criminal element
12:08:36     11    in an attempt to further an investigation.
12:08:39     12    Q. What are some of the criminal roles you played as an
12:08:42     13    undercover officer?
12:08:43     14    A. I portrayed somebody who was buying drugs, anywhere from
12:08:47     15    dime bags of crack cocaine up to multi-ounce quantities and
12:08:51     16    even kilo-quantities at the MANS unit.
12:08:54     17                In addition to that, I portrayed an individual who
12:08:57     18    had large quantities of drugs to sell, kilogram-quantities of
12:09:02     19    cocaine in conducting reverse undercover operations.
12:09:06     20    Q. Approximately how many undercover investigations did you
12:09:08     21    work on at MANS?
12:09:09     22    A. Dozens.
12:09:11     23    Q. And what were the types of drugs involved in your cases at
12:09:18     24    MANS?
12:09:18     25    A. Cocaine, crack cocaine, methamphetamine, marijuana,



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12:09:21       1   heroin, club drugs, LSD, and some others.
12:09:25       2   Q. How long did you work on MANS?
12:09:27       3   A. About two years.
12:09:29       4   Q. And where did you go after that?
12:09:30       5   A. I rotated back to the sheriff's office to the patrol
12:09:33       6   division.
12:09:34       7   Q. Now, was that just a two-year temporary assignment?
12:09:37       8   A. Yes. All assignments to the MANS units or MEG units are
12:09:41       9   temporary.
12:09:43     10    Q. And what was your next position after you rotated out of
12:09:46     11    MANS?
12:09:46     12    A. I served in the patrol division for a period of time until
12:09:49     13    I was assigned to the Drug Enforcement Administration in April
12:09:51     14    of '95.
12:09:53     15    Q. And are you still in that current -- in that position
12:09:57     16    today?
12:09:58     17    A. Yes.
12:09:58     18    Q. But you're still technically employed by the Will County
12:10:01     19    Sheriff's Office?
12:10:01     20    A. Correct. I'm a lieutenant with the sheriff's office.
12:10:03     21    They pay my salary and benefits, and I'm under the day-to-day
12:10:07     22    control of DEA.
12:10:08     23    Q. Now, what are your current duties as a task force officer
12:10:11     24    with DEA?
12:10:12     25    A. As a task force officer, I work side by side with DEA



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12:10:16       1   special agents and we conduct investigations into drug
12:10:19       2   trafficking organizations.
12:10:20       3   Q. Are you familiar with the term case agent?
12:10:23       4   A. Yes.
12:10:24       5   Q. And have you served in that role?
12:10:26       6   A. Yes, both as case agent and co-case agent.
12:10:29       7   Q. And is the case agent the leader of the investigation?
12:10:33       8   A. Pardon me?
12:10:33       9   Q. Is the case agent the leader of an investigation?
12:10:36     10    A. Yes. A case agent is the one that calls the shots on the
12:10:39     11    investigation, what direction it's going to take, what steps
12:10:42     12    are taken next in the investigation.
12:10:44     13    Q. And approximately how many times have you served as the
12:10:47     14    case agent?
12:10:48     15    A. Dozens.
12:10:49     16    Q. Have you conducted surveillance during your time as a TFO?
12:10:56     17    A. Yes.
12:10:56     18    Q. Approximately how many times have you conducted
12:10:58     19    surveillance?
12:10:58     20    A. Hundreds of times.
12:11:00     21    Q. Have you worked in the capacity as an undercover agent --
12:11:03     22    A. Yes.
12:11:03     23    Q. -- as a TFO?
12:11:05     24    A. Yes.
12:11:06     25    Q. Approximately how many times have you worked as an



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12:11:10       1   undercover agent?
12:11:10       2   A. Over a hundred.
12:11:11       3   Q. Have you been involved in wiretap investigations?
12:11:14       4   A. Yes.
12:11:15       5   Q. And can you just give a layman's description of what a
12:11:18       6   wiretap is?
12:11:18       7   A. A wiretap is a court authorized -- it's a court-authorized
12:11:24       8   interception of communications between a target and another
12:11:27       9   individual. A wiretap can either be intercepting phone calls
12:11:32     10    on a target telephone used by an individual or an
12:11:35     11    organization, or it can be a listening device placed into a
12:11:39     12    room or a car in which the target is located to intercept
12:11:43     13    conversations from that target.
12:11:45     14    Q. Approximately how many wiretap investigations have you
12:11:50     15    been a part of?
12:11:50     16    A. Dozens.
12:11:50     17    Q. And what have you done in those investigations?
12:11:53     18    A. Pardon me?
12:11:54     19    Q. What have you done as part of those investigations?
12:11:56     20    A. Assisted in surveillance, conducted -- engaged in
12:11:59     21    undercover roles, monitored the wiretaps in the wire room,
12:12:05     22    helped prepare the case for presentation to court.
12:12:09     23    Q. What training have you received from DEA since you've
12:12:12     24    become a TFO?
12:12:13     25    A. I received training, again, in clandestine laboratories,



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12:12:16       1   concealed compartment training, drug trans both domestic and
12:12:21       2   international. I received training in complex conspiracy
12:12:24       3   investigations, telephone investigations, financial crimes
12:12:28       4   investigations, asset forfeiture investigations. I attended
12:12:31       5   training at the drug unit commander academy at DEA's Quantico
12:12:36       6   training facility, and I've attended the FBI National Academy
12:12:40       7   at Quantico.
12:12:41       8   Q. As a task force officer with DEA, how many drug cases have
12:12:45       9   you worked on?
12:12:46     10    A. Hundreds.
12:12:47     11    Q. What amounts of drugs have been involved in the cases
12:12:50     12    you've worked on?
12:12:51     13    A. A wide variety, from dime bags of crack cocaine or
12:12:54     14    one-tenth of one gram up to multi-hundred kilogram-quantities
12:12:58     15    of cocaine.
12:13:01     16    Q. Now, you've talked about being an undercover agent as a
12:13:05     17    TFO with DEA. What are some of the roles you played as an
12:13:09     18    undercover agent --
12:13:11     19    A. Again, as an individual purchasing large quantities of
12:13:14     20    drugs from organizations. Also, in an undercover capacity,
12:13:20     21    conducting reverse undercover operations where I'm purchasing
12:13:23     22    large quantities of drugs from an organization. Also, I've
12:13:26     23    been hired as a transporter by drug organizations.
12:13:32     24    Q. Approximately how many of your investigations involved
12:13:36     25    wholesale-quantities of cocaine?



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12:13:41       1   A. Probably 95 percent.
12:13:46       2   Q. Now, as an undercover agent with DEA, have you ever
12:13:49       3   portrayed the role as a purchaser of cocaine?
12:13:52       4   A. Yes.
12:13:53       5   Q. Approximately how many times?
12:13:55       6   A. Dozens of times.
12:13:58       7   Q. And what types and quantities of cocaine have you
12:14:01       8   purchased during your undercover work with DEA?
12:14:03       9   A. I purchased both crack cocaine and also powder cocaine, or
12:14:09     10    cocaine hydrochloride. As far as quantities go, anywhere from
12:14:14     11    a dime bag or one-tenth of a gram of crack up to 50 kilograms
12:14:20     12    of powder cocaine.
12:14:21     13    Q. In your training and experience, have you become familiar
12:14:23     14    with the process by which powder cocaine comes into the United
12:14:28     15    States and is thereafter trafficked within the United States?
12:14:31     16    A. Yes.
12:14:38     17    Q. And in your training and experience, have you become
12:14:40     18    familiar with the means by which drug traffickers prepare,
12:14:44     19    package, transport, and thereafter sell drugs?
12:14:47     20    A. Yes.
12:14:48     21    Q. In your training and experience, have you become familiar
12:14:51     22    with the ways in which cocaine traffickers operate?
12:14:54     23    A. Yes.
12:14:56     24    Q. In your training and experience, have you become familiar
12:14:59     25    with the common weights and measures for wholesale-quantities



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12:15:02       1   of cocaine?
12:15:03       2   A. Yes.
12:15:05       3   Q. In your training and experience, have you become familiar
12:15:07       4   with how cocaine is ingested?
12:15:10       5   A. Yes.
12:15:11       6   Q. Do you keep abreast of the latest trends in drug
12:15:14       7   trafficking?
12:15:15       8   A. Yes.
12:15:15       9   Q. How do you do so?
12:15:17     10    A. By continuing to work active cases at DEA as a case agent
12:15:20     11    and co-case agent, by debriefing informants who have agreed to
12:15:24     12    cooperate with DEA, by conducting proffers of defendants who
12:15:29     13    have been charged with drug activity and who have agreed to
12:15:32     14    cooperate, by speaking with other agents and co-case agents
12:15:35     15    who are involved in active drug investigations, by monitoring
12:15:40     16    Title III wiretap investigations, and also by continuing to
12:15:44     17    attend additional training.
12:15:48     18    Q. If you need, there's water in the pitcher right next to
12:15:51     19    you.
12:15:52     20    A. Thank you.
12:15:53     21    Q. Do you also review any journals on the topic put out by
12:15:59     22    DEA?
12:15:59     23    A. Yes.
12:15:59     24    Q. Now, are you familiar with the distribution of cocaine in
12:16:01     25    the Chicago area?



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12:16:03       1   A. Yes.
12:16:08       2   Q. And are you familiar with the prices and payment methods
12:16:09       3   used for wholesale quantities of cocaine in the Chicago area?
12:16:13       4   A. Yes.
12:16:15       5   Q. In your training and experience, have you become familiar
12:16:18       6   with the various street names and descriptors for cocaine?
12:16:21       7   A. Yes.
12:16:22       8   Q. Lieutenant, have you interviewed anyone on the witness
12:16:25       9   list related to this case?
12:16:27     10    A. No.
12:16:29     11    Q. Have you been provided any of the legal documents in this
12:16:32     12    case?
12:16:32     13    A. No.
12:16:32     14    Q. Do you know the facts involved in this case?
12:16:34     15    A. No.
12:16:38     16    Q. Have you ever been qualified to give an opinion on cocaine
12:16:43     17    trafficking before?
12:16:43     18    A. Yes.
12:16:43     19    Q. Approximately how many times?
12:16:46     20    A. 68 times.
12:16:47     21    Q. In what courts have you been qualified as an opinion
12:16:51     22    witness?
12:16:52     23    A. Mostly here in Federal Court in Chicago and a couple of
12:16:54     24    times in state court in Joliet.
12:16:57     25                MS. RODNEY: Your Honor, at this time the Government



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12:16:59    1   moves under Rule 702 to qualify Lieutenant Coleman to provide
12:17:03    2   opinion testimony in the field of cocaine and narcotics
12:17:05    3   trafficking.
12:17:05    4              THE COURT: Okay. Do you want to voir dire the
12:17:08    5   witness?
12:17:08    6              MR. RUBINO: Not necessary.
12:17:09    7              THE COURT: Okay. Then he will be permitted to do
12:17:11    8   so.
12:17:12    9              MS. RODNEY: Thank you.
12:17:13   10   BY MS. RODNEY:
12:17:14   11   Q. Lieutenant, what is cocaine?
12:17:16   12   A. Cocaine, powder cocaine is an illegal drug.
12:17:20   13   Q. And where does it come from?
12:17:22   14   A. It's manufactured in South America.
12:17:25   15   Q. In what forms does it take when it's manufactured?
12:17:28   16   A. Well, the end product -- there are two end products for
12:17:33   17   cocaine. One is powder cocaine or cocaine hydrochloride, and
12:17:37   18   then there's another conversion process in which you could put
12:17:39   19   the powder cocaine through to convert it to cocaine base or
12:17:43   20   crack cocaine.
12:17:44   21   Q. How is powder cocaine imported into the United States?
12:17:48   22   A. Through a variety of methods. Usually it comes from
12:17:51   23   Columbia into Mexico, and then from Mexico into the United
12:17:55   24   States. Sometimes it's concealed within passenger cars that
12:18:00   25   are crossing the border from Mexico into the United States.



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12:18:03    1   Sometimes it's concealed inside tractor-trailers, transporting
12:18:08    2   legitimate product or produce from Mexico into the United
12:18:11    3   States. It's concealed within that cover load.
12:18:13    4              Sometimes it can be transported in go-fast boats from
12:18:18    5   Mexico into the United States. Sometimes it can be actually
12:18:22    6   integrated into legitimate products, shipped into the United
12:18:26    7   States, and then extracted from those products. And there are
12:18:29    8   a variety of other methods in which it's transported as well.
12:18:33    9   Q. Are there various transshipment points within the United
12:18:37   10   States?
12:18:37   11   A. Yes.
12:18:37   12   Q. Is Chicago one of them?
12:18:39   13   A. Yes.
12:18:42   14   Q. Once the cocaine makes it into the United States, how is
12:18:45   15   it distributed down to the street level?
12:18:47   16   A. Well, once it crosses the border into the United States,
12:18:50   17   it goes usually to a staging area just across the border, and
12:18:53   18   then from there it'll get transported to a transshipment city,
12:18:57   19   such as Chicago. Once Chicago receives a large quantity of
12:19:02   20   cocaine, a couple hundred kilos or so, then it would be
12:19:05   21   distributed further down the chain to other wholesale
12:19:09   22   distributors and then to midlevel distributors until it
12:19:12   23   finally makes it down to the consumer.
12:19:15   24   Q. What does powder cocaine look like?
12:19:17   25   A. It's a white powder, sometimes it can be off-white,



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12:19:22    1   sometimes yellowish or a pinkish tint, but generally it's
12:19:25    2   white in color.
12:19:26    3   Q. Are you familiar with how a kilogram of cocaine looks?
12:19:29    4   A. Yes.
12:19:30    5   Q. And what does that look like?
12:19:31    6   A. Well, a kilogram of cocaine or 1,000 grams has the
12:19:35    7   appearance of about the size of a cigar box.
12:19:39    8   Q. Of a cigar box?
12:19:40    9   A. Correct.
12:19:41   10   Q. How is cocaine consumed?
12:19:45   11   A. There's a couple of different ways. Powder cocaine can be
12:19:47   12   snorted through the nose. It can also be mixed in solution
12:19:52   13   and injected. And then crack cocaine can only be smoked.
12:19:56   14   Q. What is a dosage amount or a user quantity of cocaine?
12:20:01   15   A. A dosage amount, a typical dosage amount would be about
12:20:07   16   one-tenth of one gram of cocaine.
12:20:10   17   Q. And can you give a visual to the jury about how much one
12:20:15   18   gram is or a quantity smaller than that?
12:20:18   19   A. Yeah, sure. One-tenth of one gram, if you can imagine an
12:20:21   20   aspirin tablet, a typical aspirin tablet weighs about
12:20:26   21   one-third of a gram, so it would take three aspirin tablets to
12:20:31   22   equal roughly one gram.
12:20:35   23   Q. So there are approximately ten dosage units in one gram of
12:20:39   24   cocaine?
12:20:40   25   A. Correct.



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12:20:45    1   Q. And what are the various user quantities of cocaine?
12:20:49    2   A. For powder cocaine?
12:20:51    3   Q. Yes.
12:20:51    4   A. User quantities, well, the smallest amount of powder
12:20:59    5   cocaine, that I'm aware of, that's purchased at the street
12:21:02    6   level is one half of one gram. And then it goes up from there
12:21:05    7   to one gram, and then from one gram it goes to a sixteenth or
12:21:12    8   1.75 grams. And the sixteenth is in reference to
12:21:15    9   one-sixteenth of an ounce. From the sixteenth it goes up to
12:21:19   10   an eightball or one-eighth of an ounce, which is 3.5 grams.
12:21:23   11   And then a quarter gram -- I mean, a quarter ounce, a half
12:21:25   12   ounce, and then up to an ounce.
12:21:27   13   Q. Have you seen a user be in possession of more than one
12:21:30   14   ounce of cocaine for personal use?
12:21:32   15   A. No.
12:21:35   16   Q. Now, what are some examples of distribution quantities of
12:21:39   17   cocaine?
12:21:41   18   A. A distribution quantity would start at the lowest end,
12:21:47   19   would be one ounce of cocaine. And then it would go upwards
12:21:50   20   from there, multi-ounce quantities, to finally
12:21:53   21   kilogram-quantities and upwards from there.
12:21:58   22   Q. How many dosage units are in one kilogram of cocaine?
12:22:04   23   A. 10,000.
12:22:08   24   Q. Does that 10,000 refer to an uncut kilo of cocaine?
12:22:14   25   A. Well, it refers to a -- yes. It refers to a thousand



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12:22:17    1   grams. There's 10,000 dosage units in a thousand grams
12:22:22    2   regardless of the purity level of the kilo.
12:22:24    3   Q. And I've used the term uncut, are you familiar with that
12:22:27    4   term?
12:22:27    5   A. Yes.
12:22:28    6   Q. And what is that?
12:22:29    7   A. Uncut is a reference to the cocaine or whatever drug not
12:22:36    8   having been diluted or cut with a cutting agent.
12:22:41    9   Q. And what is the purpose of diluting cocaine?
12:22:44   10   A. Well, to make more money. If a person has an ounce of
12:22:49   11   cocaine, for example, 28 grams, if he wants to make more
12:22:53   12   money, he'll take a cutting agent of another 28 grams and mix
12:22:57   13   that with the 28 grams of cocaine, and then he has a mixture
12:23:00   14   of two ounces of cocaine to sell on the street.
12:23:10   15   Q. And what is the street reference for diluting cocaine?
12:23:16   16   A. There's a couple of them. Cutting it, breaking it down,
12:23:21   17   stepping on it.
12:23:27   18   Q. Now, earlier you testified that you've become familiar
12:23:29   19   with the prices for wholesale-quantities of cocaine in the
12:23:32   20   Chicago area?
12:23:33   21   A. Yes.
12:23:34   22   Q. In 2005 what was the price of a kilogram of cocaine in
12:23:38   23   Chicago?
12:23:39   24   A. It would have run between 17,000 and $25,000 per kilo.
12:23:46   25   Q. Do you know if it would have been within that same range



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12:23:49    1   in the Milwaukee area just two hours north of here?
12:23:52    2   A. It would have.
12:23:54    3   Q. Now, between 2006 and 2008, did that range change at all?
12:24:00    4   A. When in 2008?
12:24:03    5   Q. I'm sorry. Let me back up.
12:24:06    6              Between 2006 and 2008, is the range of price you just
12:24:11    7   gave for one kilo of cocaine in the Chicago area, did that
12:24:14    8   price remain stable?
12:24:16    9   A. It remained stable until May of 2008 when prices
12:24:19   10   escalated.
12:24:20   11   Q. And how high did prices go to in approximately May of
12:24:24   12   2008?
12:24:25   13   A. From that point until today's date, it ranges between 28-
12:24:29   14   and 32,000 per kilo.
12:24:34   15   Q. What, if anything, affects the price of cocaine at the
12:24:37   16   wholesale distribution level?
12:24:41   17   A. There are a couple of factors. One is availability. If
12:24:45   18   there's a shortage of cocaine, then, of course, it's going to
12:24:48   19   drive the price up. Some other factors that might affect the
12:24:53   20   price that an individual pays for kilos would be the
12:24:55   21   relationship between the buyer and the seller. If there's a
12:24:58   22   longstanding relationship, then the buyer should get a break
12:25:00   23   from the seller.
12:25:01   24              Also, volume discount. If the buyer is selling large
12:25:05   25   quantities of cocaine from the wholesaler, then he should get



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12:25:08    1   a break on the price then. And also purity level. If it's
12:25:13    2   known that the purity level of the kilos are less than what
12:25:16    3   they should be, then they should be worth less.
12:25:20    4   Q. Does a purchaser of kilogram-quantities of cocaine pay for
12:25:25    5   that quantity of cocaine up front?
12:25:28    6   A. It depends on the relationship between the buyer and
12:25:31    7   seller. Oftentimes kilograms of cocaine are paid in cash COD.
12:25:36    8   Sometimes when there's a relationship between the buyer and
12:25:38    9   the seller, the seller will front kilos to the buyer or give
12:25:42   10   them those kilos on credit, until he sells those kilos and he
12:25:46   11   pays his source.
12:25:48   12   Q. Until the buyer sells those kilos and pays his supplier?
12:25:53   13   A. Correct.
12:25:59   14   Q. Lieutenant Coleman, I'm going to hand you three exhibits
12:26:04   15   that have previously been admitted into evidence. Government
12:26:08   16   Exhibit 1A, Government Exhibit 1B, Government Exhibit 1C, and
12:26:16   17   Government Transcripts 1 through 3.
12:26:25   18              And for the record, Government Exhibits 1A through 1C
12:26:29   19   are each recordings.
12:26:31   20              Lieutenant, are you familiar with the exhibits that
12:26:33   21   I've just handed you?
12:26:42   22   A. Yes.
12:26:43   23   Q. And how are you familiar with them?
12:26:47   24   A. You and your partner gave me copies of these transcripts
12:26:50   25   and the audios several weeks ago for review.



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12:26:53    1   Q. Did you have an opportunity to listen to those recordings
12:26:56    2   and review the transcripts?
12:26:58    3   A. Yes.
12:26:59    4   Q. In your review of those recordings, were you able to
12:27:02    5   determine, based on your training and experience, whether the
12:27:04    6   speakers on the calls were using slang or code words during
12:27:08    7   the calls?
12:27:09    8   A. Yes.
12:27:10    9   Q. In your experience, have you overheard conversations
12:27:13   10   between drug traffickers where code words are commonly used?
12:27:18   11   A. Yes.
12:27:19   12   Q. And why is that?
12:27:20   13   A. Well, members of drug organizations who are engaging in
12:27:26   14   criminal activity will often talk in coded language to thwart
12:27:33   15   law enforcement's ability to conduct an investigation. If
12:27:36   16   they are talking on a telephone or even in person, they'll
12:27:39   17   oftentimes use coded language, so individuals who overhear the
12:27:43   18   conversation, either through a wiretap or somebody standing
12:27:46   19   right next to them, would have a difficult time determining
12:27:48   20   that they are talking about criminal activity.
12:27:52   21   Q. Were you able to decipher the meaning of the words used by
12:27:55   22   the speakers in Recordings 1A, 1B, and 1C?
12:28:00   23   A. Yes.
12:28:02   24              MS. RODNEY: Your Honor, at this time I would like to
12:28:04   25   publish Transcript 1. Is it possible to hand the copies out



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12:28:07    1   to the jury as well?
12:28:08    2              THE COURT: That's fine.
12:28:09    3              Marty, can you help with that again, please?
12:28:11    4              THE MARSHAL: Yes.
12:28:12    5              THE COURT: It's the red binders.
12:28:54    6              MS. RODNEY: May I publish Transcript 1?
12:28:57    7              THE COURT: You may. Okay, folks, you can look at it
12:28:59    8   now. It's that first tab.
12:29:06    9   BY MS. RODNEY:
12:29:13   10   Q. Lieutenant, I'd like to direct your attention to line 23
12:29:18   11   of Transcript 1. It's the first tab in the red binder. Do
12:29:23   12   you see the reference 28 in line 23?
12:29:27   13   A. Yes.
12:29:29   14   Q. Based on your training and experience and the context of
12:29:32   15   this call, in your opinion, what does 28 refer to in line 23?
12:29:37   16   A. $28,000.
12:29:41   17   Q. Now, moving down to line 28 in the same transcript?
12:29:45   18   A. Which line?
12:29:46   19   Q. Line 28, Transcript 1. Do you see the reference to 29,5
12:29:54   20   at the end of line 28?
12:29:56   21   A. Yes.
12:29:57   22   Q. Now, based on your training and experience and the context
12:30:01   23   of this call, in your opinion, what does 29,5 refer to?
12:30:04   24   A. $29,500.
12:30:09   25   Q. And from your reading of the call, do you know what



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12:30:12    1   $29,500 is in reference to?
12:30:16    2   A. Yes.
12:30:16    3   Q. And what is that?
12:30:17    4   A. Well, the 28,000 is reference to the purchase price of the
12:30:23    5   kilo of cocaine, and the 29,5 is in reference to what
12:30:26    6   Mr. Collins wants to sell the kilo for.
12:30:26    7              MR. RUBINO: Objection. He's never identified the
12:30:28    8   voice as being that of Mr. Collins.
12:30:30    9              THE COURT: Okay.
12:30:30   10              MR. RUBINO: Speaker, I think, would be more
12:30:32   11   appropriate.
12:30:33   12              THE COURT: Sustained.
12:30:34   13   BY MS. RODNEY:
12:30:35   14   Q. Can you repeat your answer using the word speaker instead
12:30:38   15   of Collins?
12:30:39   16   A. On line 28, the 29,5 is in reference to the speaker
12:30:44   17   wanting to sell the kilos for that much.
12:30:47   18   Q. And that's $29,500?
12:30:51   19   A. Correct.
12:30:51   20   Q. Now, moving right below that to line 29 on Transcript 1,
12:30:55   21   do you see the reference to a dub?
12:30:58   22   A. Yes.
12:30:58   23   Q. And based on your training and experience and the context
12:31:02   24   of the call, in your opinion, what does a dub refer to?
12:31:05   25   A. 20.



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12:31:07    1   Q. And from your reading of the transcript, do you know if it
12:31:12    2   refers to 20 as some type of measurement?
12:31:17    3   A. It refers to 20 units. The speaker -- a dub refers to 20,
12:31:25    4   so they are talking about 20 kilos.
12:31:31    5   Q. Now, if I can refer you down further to line 42 in
12:31:37    6   Transcript 1. Do you see the reference to in the second half
12:31:41    7   of the line, Give me 30 up front?
12:31:45    8   A. Yes.
12:31:45    9   Q. From your reading of the transcript and based on your
12:31:49   10   training and experience, do you know what the reference to,
12:31:51   11   Give me 30 up front, means?
12:31:53   12   A. Yes.
12:31:53   13   Q. And what does it mean?
12:31:55   14   A. 30 kilos on credit.
12:31:57   15   Q. Now, moving two lines down to line 43 in Transcript 1 at
12:32:05   16   the end of the sentence, do you see the phrase, He had to
12:32:08   17   break them down?
12:32:10   18   A. Yes.
12:32:11   19   Q. From your reading of the transcript and based on your
12:32:13   20   training and experience, what does the phrase, He had to break
12:32:16   21   them down, refer to?
12:32:18   22   A. It's in reference to taking the kilogram in its pure form
12:32:22   23   and breaking it down and stepping on it and mixing it with a
12:32:26   24   dilutant or a cutting agent and in order to expand its value
12:32:30   25   and make more money.



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12:32:34    1   Q. Now, I'm going to move to the second page of Transcript 1.
12:32:42    2   If I could refer you to line 65 to 66. In line 65, do you
12:32:54    3   see -- and continuing on to 66 -- do you see the phrase, If I
12:32:58    4   try to get me 1500 off each one of them?
12:33:03    5   A. Yes.
12:33:04    6   Q. Based on your reading of the transcript and your training
12:33:08    7   and experience, what does, 1500 off each one of them, refer
12:33:12    8   to?
12:33:12    9   A. It means that the speaker is trying to make $1500 off each
12:33:17   10   kilo that he sells.
12:33:19   11   Q. Now, moving a few lines down to line 63, do you see the
12:33:24   12   reference to paper in that sentence?
12:33:30   13   A. On which line?
12:33:32   14   Q. Excuse me. Line 68, the reference to paper.
12:33:36   15   A. Yes.
12:33:37   16   Q. And based on your training and experience, does paper have
12:33:40   17   another meaning in that sentence?
12:33:43   18   A. Yes.
12:33:44   19   Q. And what is that meaning?
12:33:45   20   A. Paper is a common code word for money.
12:33:50   21   Q. Now, if you could go down to line 78, in line 78 do you
12:34:02   22   see the reference to the phrase, I can do the numbers.
12:34:05   23   A. Yes.
12:34:07   24   Q. And based on your reading of this transcript and your
12:34:10   25   training and experience, what does the phrase, I can do the



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12:34:12    1   numbers, mean?
12:34:18    2   A. It means that the speaker is assuring the other individual
12:34:24    3   that he can sell those quantities.
12:34:28    4   Q. Quantities of drugs?
12:34:30    5   A. Pardon me?
12:34:30    6   Q. Quantities of drugs?
12:34:32    7   A. Yes.
12:34:33    8   Q. Now, moving just a few lines down to lines 81 to 82, do
12:34:41    9   you see the phrase, in the line 81 that says, He not a, the,
12:34:48   10   the type to break it down?
12:34:52   11   A. Yes.
12:34:52   12   Q. Based on your training and experience and your reading of
12:34:53   13   this call, do you know what the phrase, Not the type to break
12:34:56   14   it down, refers to?
12:34:58   15   A. Yes.
12:34:58   16   Q. And what does that mean?
12:35:00   17   A. Again, breaking it down means taking the kilo in its pure
12:35:04   18   form and then breaking it down and adding an adulterant or a
12:35:09   19   cut to it to expand the volume and make more money.
12:35:11   20   Q. Now, moving just a few lines down to lines 83 to 84, do
12:35:17   21   you see the reference that says, So now he can't sell them
12:35:21   22   whole like you. Based on your training and experience and
12:35:25   23   your reading of this transcript, do you know what the
12:35:27   24   reference, He can't sell them whole like you, refers to?
12:35:30   25   A. Yes.



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12:35:31    1   Q. And what does that mean?
12:35:32    2   A. Well, it means that whoever can't sell the entire kilo one
12:35:36    3   kilo at a time. He has to break them down and sell them in
12:35:39    4   multi-ounce quantities, once he's stepped on them and diluted
12:35:43    5   them.
12:35:44    6              MS. RODNEY: Your Honor, may I have a moment?
12:35:45    7              THE COURT: Sure.
12:35:57    8   BY MS. RODNEY:
12:35:59    9   Q. Lieutenant Coleman, just to clarify, your interpretation
12:36:02   10   of these code words was based on your reading of
12:36:05   11   Transcripts 1, 2, and 3?
12:36:09   12   A. In addition to listening to the audio recordings, yes.
12:36:12   13              MS. RODNEY: Your Honor, I have no further questions
12:36:13   14   at this time.
12:36:14   15              THE COURT: Okay. Mr. Rubino?
12:36:14   16                                       - - -
12:36:14   17                      ROBERT COLEMAN, CROSS-EXAMINATION
12:36:14   18   BY MR. RUBINO:
12:36:19   19   Q. Good afternoon, sir.
12:36:20   20   A. Good afternoon.
12:36:22   21   Q. Sir, you told us that you participated in numerous
12:36:27   22   surveillances of people involved in the drug trade, correct?
12:36:32   23   A. Yes.
12:36:33   24   Q. Sir, did you ever participate in any surveillance of Ron
12:36:37   25   Collins?



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12:36:37    1   A. No.
12:36:38    2   Q. Do you know if any surveillance was ever done of Ron
12:36:41    3   Collins?
12:36:41    4   A. I don't.
12:36:43    5   Q. Now, you told us that you've acted as an undercover agent,
12:36:46    6   correct?
12:36:47    7   A. Yes.
12:36:47    8   Q. And in that capacity you acted as a purchaser, correct?
12:36:52    9   A. Yes.
12:36:52   10   Q. Tells the ladies and gentlemen of the jury how much drugs
12:36:55   11   you purchased from Ron Collins?
12:36:58   12   A. None.
12:36:58   13   Q. You never met with Ron Collins as an undercover agent, did
12:37:01   14   you?
12:37:01   15   A. I've never met Ron Collins.
12:37:05   16   Q. And, therefore, he never hired you as a transporter
12:37:08   17   either, which you testified about?
12:37:10   18   A. That's correct.
12:37:11   19   Q. Now, tell the ladies and gentlemen of the jury if during
12:37:13   20   the course of this investigation if you ever saw Ron Collins
12:37:19   21   possess drugs?
12:37:20   22   A. I did not.
12:37:22   23   Q. Did you ever see him use drugs?
12:37:23   24   A. No.
12:37:23   25   Q. Did you ever see him buy drugs?



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12:37:26    1   A. No.
12:37:28    2   Q. Sell drugs?
12:37:30    3   A. No.
12:37:30    4   Q. Deliver drugs?
12:37:31    5   A. No.
12:37:32    6   Q. Import drugs?
12:37:33    7   A. No.
12:37:33    8   Q. Export drugs?
12:37:35    9   A. No.
12:37:35   10   Q. Do you know if any other government agent ever saw Ron
12:37:38   11   Collins ever do any of the above I've discussed with you?
12:37:41   12   A. I don't know.
12:37:44   13   Q. Did you ever seize any drugs from Ron Collins?
12:37:47   14   A. No.
12:37:47   15   Q. Do you know if any agent of the United States Government
12:37:51   16   ever seized any drugs from Ron Collins?
12:37:53   17   A. I don't know.
12:37:55   18   Q. Now, you told us about debriefing informants, correct?
12:37:59   19   A. Yes.
12:38:00   20   Q. Have you ever caught an informant lying?
12:38:04   21   A. Yes.
12:38:05   22   Q. And in truth and in fact, they lie sometimes to protect
12:38:08   23   their sources, don't they?
12:38:10   24              MS. RODNEY: Objection, your Honor.
12:38:11   25              THE COURT: Overruled.



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12:38:12    1              THE WITNESS: They lie for a variety of reasons.
12:38:14    2   BY MR. RUBINO:
12:38:15    3   Q. Sometimes to protect their sources, right?
12:38:18    4   A. That could be a reason.
12:38:19    5   Q. And sometimes to protect their friends?
12:38:21    6   A. That could be a reason.
12:38:23    7   Q. And sometimes to protect their family members?
12:38:25    8   A. Yes.
12:38:26    9   Q. Sometimes to protect their money?
12:38:28   10   A. Yes.
12:38:28   11   Q. Sometimes to protect their assets?
12:38:31   12   A. Yes.
12:38:32   13   Q. And sometimes to get benefits, right?
12:38:34   14   A. To get benefits?
12:38:36   15   Q. Yes.
12:38:36   16   A. I'm not clear.
12:38:38   17   Q. Well, sometimes informants are paid, aren't they?
12:38:40   18   A. Yes.
12:38:40   19   Q. Have you ever caught a paid informant lying?
12:38:43   20   A. Yes.
12:38:44   21   Q. So by and large they are not a very reliable group, are
12:38:48   22   they?
12:38:49   23   A. Well --
12:38:50   24              MS. RODNEY: Objection, your Honor.
12:38:52   25              THE COURT: Sustained.



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12:38:53    1   BY MR. RUBINO:
12:38:56    2   Q. Now, you talked about the recordings that were made,
12:38:59    3   correct?
12:39:00    4   A. Yes.
12:39:01    5   Q. You have no personal knowledge whatsoever of when those
12:39:05    6   recordings were made, do you?
12:39:07    7   A. I think the dates were listed on the top of the
12:39:10    8   transcripts.
12:39:13    9   Q. Okay. Do you personally know that that date is correct?
12:39:14   10   A. I do not.
12:39:15   11   Q. And do you have any personal knowledge of where these
12:39:18   12   recordings were made?
12:39:19   13   A. No.
12:39:20   14   Q. And do you have any personal knowledge of how they were
12:39:22   15   made?
12:39:23   16   A. No.
12:39:24   17   Q. And do you have any personal knowledge of who made them?
12:39:27   18   A. No.
12:39:27   19   Q. And any personal knowledge of the circumstances under
12:39:30   20   which they were made?
12:39:32   21   A. No.
12:39:33   22   Q. And you cannot tell these ladies and gentlemen of the jury
12:39:39   23   that the voice on that transcript is that of Ron Collins, can
12:39:43   24   you?
12:39:43   25   A. I cannot.



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12:39:44    1              MR. RUBINO: I have nothing further -- oh, one, one
12:39:46    2   thing. I'm sorry. One other thing.
12:39:49    3   BY MR. RUBINO:
12:39:49    4   Q. The transcripts, the three transcripts, 1, 2, and 3, and
12:39:54    5   the three corresponding recordings, which are 1A, 1B, and 1C,
12:40:02    6   isn't it true, sir, that nowhere in these three transcripts or
12:40:07    7   recordings is the name Ron, Ron Ron, or Ron Collins ever used?
12:40:13    8   A. That's correct.
12:40:14    9              MR. RUBINO: Thank you. I now have nothing further.
12:40:16   10              THE COURT: Okay.
12:40:22   11              MS. RODNEY: Just one moment, your Honor?
12:40:23   12              THE COURT: Sure.
12:40:23   13                                       - - -
12:40:23   14                    ROBERT COLEMAN, REDIRECT EXAMINATION
12:40:23   15   BY MS. RODNEY:
12:40:33   16   Q. Lieutenant Coleman, was your involvement in this
12:40:35   17   investigation limited to your interpretation of certain words
12:40:39   18   in the transcripts and on those recordings?
12:40:41   19   A. Yes.
12:40:42   20   Q. So you had no other involvement, except for reviewing
12:40:45   21   those exhibits in front of you?
12:40:47   22   A. That's correct.
12:40:48   23              MS. RODNEY: Your Honor, I don't have anything
12:40:49   24   further.
12:40:50   25              THE COURT: Okay. You can step down then.



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12:40:54    1              (Witness leaves the stand.)
12:40:54    2              THE COURT: You can call your next witness.
12:40:58    3              MS. RODNEY: Your Honor, may we have a sidebar?
12:40:59    4              THE COURT: Sure.
12:40:59    5              (Whereupon the following discussion was had at the
12:41:36    6   bench, outside the hearing of the jury:)
12:41:36    7              MS. RODNEY: Your Honor, that was the Government's
12:41:37    8   last witness.
12:41:37    9              THE COURT: Okay.
12:41:38   10              MS. RODNEY: And after we just review our exhibit
12:41:40   11   list, we'll be prepared to rest.
12:41:42   12              THE COURT: Okay. Do you want to make a motion at
12:41:44   13   this time then?
12:41:44   14              MR. RUBINO: Yes, your Honor. I would make a motion
12:41:46   15   that under Rule 29 of the Federal Rules of Criminal Procedure
12:41:51   16   the Government has not put forth a sufficient case even in
12:41:54   17   light of the evidence most favorable to the Government for the
12:41:56   18   following reasons.
12:41:57   19              One, each and every one of the Government informant
12:42:00   20   witnesses, all five of them, I think, have been severely
12:42:03   21   impeached. I don't think that their testimony stands up to
12:42:06   22   enough credibility that a reasonable jury could, on that
12:42:10   23   testimony, convict the defendant.
12:42:11   24              Further, I don't believe that there has been
12:42:14   25   sufficient evidence brought forth that the voice on the



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12:42:17    1   recording is, in fact, that of Ron Collins. Only one person
12:42:20    2   has testified to that, and that was the agent who said that
12:42:23    3   two years ago he spoke with Ron Collins for 45 minutes, has
12:42:27    4   never seen -- never spoke to him since then, and he's basing
12:42:30    5   that upon a two-year-old recollection having no training and
12:42:34    6   experience. I think basically that's the sum and substance of
12:42:37    7   the case.
12:42:37    8              As far as the financial evidence goes, it was pretty
12:42:41    9   clear to me that the gentleman who testified could only say
12:42:46   10   what did not come from a particular bank account but could not
12:42:50   11   attribute it to unknown bank accounts. Obviously that
12:42:53   12   gentleman has not went [sic] to every single bank in the
12:42:58   13   entire United States and asked them about Ron Collins or
12:42:59   14   served a subpoena upon them, if you will. So he's basing it
12:43:02   15   upon what is provided to him by the Government and not what
12:43:05   16   his knowledge is.
12:43:06   17              THE COURT: Okay.
12:43:06   18              MR. RUBINO: Thank you, your Honor.
12:43:06   19              THE COURT: Would you like to respond?
12:43:08   20              MS. GUREN: Yes, your Honor. First of all, I just
12:43:09   21   want to correct an incorrect statement of fact that Mr. Rubino
12:43:12   22   just made about voice ID.
12:43:13   23              First, Special Agent Eric Durante testified that he
12:43:17   24   had listened to the recordings on the same day before and
12:43:20   25   after he talked to Mr. Collins for 45 minutes, when he made



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12:43:22    1   that voice comparison. Second, Mr. Rubino forgot that
12:43:26    2   Mr. Bagley also made an ID of Mr. Collins after listening to
12:43:32    3   jailhouse recordings. So that's just to correct the record.
12:43:34    4              In addition, in terms of responding to Mr. Rubino's
12:43:38    5   arguments, we have insider testimony that are not impeached as
12:43:41    6   to facts and dates about Ron Collins. They corroborate each
12:43:44    7   other, and they are corroborated by evidence in the record,
12:43:48    8   including the recordings on which two agents identified Ron
12:43:50    9   Collins' voice.
12:43:51   10              And, in addition, there's corroboration with those
12:43:53   11   recordings, with regard to the T-Mobile phone calls and the
12:43:56   12   forensic analysis of the phone. The financial records also
12:43:59   13   corroborate both the insiders and the fact that Mr. Collins
12:44:03   14   had $234,000 of unaccounted-for wealth.
12:44:06   15              Mr. Killian testified as to looking for other bank
12:44:09   16   accounts and not being able to find any. That along with
12:44:13   17   Robert Gregory and the telephone records and text messages
12:44:15   18   that corroborate him thoroughly show when the evidence is
12:44:19   19   taken in favor of the Government that Mr. Collins -- there's
12:44:21   20   enough evidence for this case to go to the jury.
12:44:23   21              THE COURT: Okay. Well, in reviewing the evidence,
12:44:25   22   we definitely have credibility findings that need to go to our
12:44:29   23   jury here, because Mr. Rubino has effectively impeached
12:44:33   24   certain witnesses who were receiving benefits from the
12:44:35   25   Government, based upon their own involvement within the



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12:44:39    1   narcotics organization.
12:44:41    2              And if the jury believes them, then there is
12:44:44    3   sufficient evidence for the jury to convict. The question is
12:44:48    4   what they will do with that credibility finding. So that's
12:44:52    5   first and foremost.
12:44:54    6              Secondly, the voice identification, there's two
12:44:56    7   witnesses who have identified. Again, this is going to be an
12:45:01    8   opportunity for the jury to make its own comparison as well
12:45:03    9   with the evidence that has been presented, since we have tape
12:45:06   10   recordings of both the McHenry County Jail as well as the ones
12:45:11   11   that were presented to support the Government's case in chief.
12:45:15   12   Again, an issue that the jury should make a determination
12:45:18   13   regarding.
12:45:18   14              And then, finally, if they were to determine that it
12:45:22   15   was the defendant's voice on those recordings and that the
12:45:27   16   financial evidence that was presented was the world-view of
12:45:32   17   financial evidence, it would be reasonable for the jury to
12:45:33   18   reach a conclusion that he, in fact, had been making money
12:45:38   19   from the organization and that he did not pay taxes on that
12:45:43   20   money, not that there's a tax charge, but, rather, that it
12:45:47   21   would corroborate the type of illegal activity that the
12:45:49   22   Government's alleged he's been engaged in.
12:45:52   23              So there's a sufficient amount of evidence for the
12:45:55   24   Government to support its allegations and for a jury to
12:45:58   25   convict and at least make those credibility findings, so the



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12:46:01    1   motion is denied.
12:46:02    2              MR. RUBINO: Yes, your Honor.
12:46:03    3              THE COURT: Okay. Do you want to do anything else
12:46:06    4   before the jury, before we break for lunch then?
12:46:08    5              MS. GUREN: I just want to correct the stipulation
12:46:10    6   before --
12:46:10    7              THE COURT: That's fine. Okay. Thanks very much.
12:46:32    8              (End of sidebar discussion.)
12:46:32    9              THE COURT: Okay. Anything else from the Government?
12:46:33   10              MS. GUREN: Just briefly, the Government previously
12:46:36   11   read stipulation number 7, which had to do with tax records.
12:46:39   12   And in that stipulation I had said that no such records for
12:46:42   13   the tax years 1998 through December 31st, 2007 exist, as well
12:46:48   14   as tax years -- records related to capital gains and income
12:46:53   15   and wages.
12:46:54   16              Just to correct that as a typo. It is 1998 through
12:46:59   17   December 31st, 2008.
12:47:01   18              And I have spoken with defense counsel, and it is my
12:47:03   19   understanding that he agrees as well.
12:47:05   20              MR. RUBINO: I do.
12:47:06   21              MS. GUREN: Thank you.
12:47:06   22              THE COURT: Okay. Anything else?
12:47:07   23              MS. GUREN: No, your Honor.
12:47:08   24              THE COURT: Okay.
12:47:10   25              MS. GUREN: At this time Government would rest,



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12:47:12    1   subject for an opportunity to just double-check all of their
12:47:16    2   exhibits during the lunch break and make sure everything's
12:47:18    3   been properly admitted.
12:47:19    4              THE COURT: Okay. That's fine.
12:47:21    5              So we have finished with the Government's case in
12:47:23    6   chief, and after lunch we will turn to the defense case, if he
12:47:26    7   intends to present one. So we'll take our lunch break now,
12:47:29    8   and you can come back at a quarter to 2:00, please. Thank
12:47:32    9   you. Remember, no talking over lunch. Thank you.
12:47:55   10              (The jury leaves the courtroom.)
12:48:17   11              THE COURT: So, Mr. Collins, now is the point where
12:48:21   12   we will -- you can be seated, folks -- where we would turn to
12:48:25   13   the defense case. And your attorney has no obligation to put
12:48:28   14   on a case, as I have instructed this jury, I think, three
12:48:31   15   times now. But you do have an opportunity to testify, if you
12:48:35   16   would like. You also can refuse to testify, because of your
12:48:38   17   Fifth Amendment right not to incriminate yourself.
12:48:41   18              So have you had an opportunity to talk to your
12:48:44   19   attorney about whether you would like to testify, sir?
12:48:46   20              THE DEFENDANT: Yes.
12:48:46   21              THE COURT: Okay. And do you want to testify?
12:48:49   22              THE DEFENDANT: No.
12:48:49   23              THE COURT: Okay. With that understanding that you
12:48:52   24   have had an opportunity to discuss that with him, I'll make
12:48:55   25   sure that the jury is instructed at the end of the trial that



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12:48:58    1   they can make no inference of guilt from your refusal to
12:49:01    2   testify. And I've already, in fact, told them that twice
12:49:04    3   before we started.
12:49:05    4              Anything from you, Mr. Rubino?
12:49:07    5              MR. RUBINO: Yes, your Honor. May I advise the Court
12:49:10    6   that this decision has not come lightly.
12:49:13    7              THE COURT: Okay.
12:49:15    8              MR. RUBINO: Mr. Collins and I have spent hours
12:49:15    9   discussing this. We've discussed the pros. We've discussed
12:49:17   10   the cons, the benefits, the detriments, et cetera. And I was
12:49:21   11   at the jail on Friday, and I was at the jail yesterday, so I
12:49:24   12   don't want -- I want the record to reflect that this is a well
12:49:27   13   thought out decision with input from me as recently as
12:49:32   14   yesterday, on Sunday.
12:49:32   15              THE COURT: Okay.
12:49:33   16              MR. RUBINO: Is that correct, Mr. Collins?
12:49:34   17              THE DEFENDANT: Yes.
12:49:35   18              THE COURT: Okay.
12:49:35   19              MR. RUBINO: So it's his knowing and intelligent
12:49:38   20   decision to invoke his right in not to testify.
12:49:40   21              THE COURT: Okay. And that is your right not to
12:49:43   22   testify. It is your right not to incriminate yourself for
12:49:46   23   that reason.
12:49:47   24              So with that understanding then, do you have a case
12:49:49   25   that you'll be presenting?



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12:49:50    1              MR. RUBINO: For your scheduling purposes, your
12:49:52    2   Honor, I wanted -- I should have told you at sidebar.
12:49:54    3              THE COURT: That's okay.
12:49:54    4              MR. RUBINO: We are not calling any witnesses, so we
12:49:57    5   will immediately rest --
12:49:57    6              THE COURT: Okay.
12:49:58    7              MR. RUBINO: -- so the Court's aware already.
12:50:00    8              THE COURT: Okay. All right. And then I assume then
12:50:02    9   there would be no rebuttal case?
12:50:03   10              MS. GUREN: That's correct, your Honor.
12:50:04   11              THE COURT: Okay. Well, in that case then we
12:50:06   12   would -- I probably should have told the jury to hold off, so
12:50:09   13   that we could go through our jury instructions conference.
12:50:12   14              So when we come back at a quarter to 2:00 let's do
12:50:16   15   that, and I'll let the jury know that they'll have a little
12:50:19   16   bit more time, and then you'll close this afternoon. Okay?
12:50:22   17              MR. RUBINO: Yes, your Honor.
12:50:22   18              THE COURT: All right. Thanks very much.
           19              (Lunch recess taken at 12:50 p.m.)
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    3                              C E R T I F I C A T E
    4
    5       I certify that the foregoing is a correct transcript from
    6    the record of proceedings in the above-entitled matter.
    7
    8    /s/April M. Metzler, RPR, CRR, FCRR            June 6, 2011
    9    April M. Metzler, RPR, CRR, FCRR               Date
   10    Official Federal Court Reporter
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